                           1    Stuart G. Gross (SBN 251019)                       Steven N. Williams (SBN 175489)
                                Travis H.A. Smith (SBN 331305)                     STEVEN WILLIAMS LAW, P.C.
                           2    Ross A. Middlemiss (SBN 323737)                    201 Spear St, Suite 1100
                           3    GROSS KLEIN PC                                     San Francisco, CA 94105
                                The Embarcadero                                    (415) 671-4628
                           4    Pier 9, Suite 100
                                San Francisco, CA 94111                            Matthew S. Weiler (SBN 236052)
                           5    (415) 671-4628                                     SCHNEIDER WALLACE COTTRELL
                                                                                   KONECKY, LLP
                           6    Matthew W. Ruan (SBN 264409)                       2000 Powell Street, Suite 1400
                                FREED KANNER LONDON & MILLEN                       Emeryville, CA 94608
                           7    LLC                                                (415) 421-7100
                                100 Tri-State International, Suite 128
                           8    Lincolnshire, IL 60069
                                (224) 632-4500
                           9

                          10   Attorneys for Plaintiffs and the Proposed Classes

                          11
                                                              UNITED STATES DISTRICT COURT
                          12
                                                        NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO, CA 94111




                          13
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                                                                 SAN FRANCISCO DIVISION
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                          15     BRAND LITTLE and ROBIN BURNS,                      Case No. 3:23-cv-01098-AGT
                          16     Individually and on Behalf of All Others
                                 Similarly Situated,                                AMENDED CLASS ACTION
                          17                                                        COMPLAINT
                                                Plaintiffs,
                          18            v.                                          Judge: Honorable Alex G. Tse
                          19     PACIFIC SEAFOOD PROCUREMENT,                       DEMAND FOR JURY TRIAL
                          20     LLC; PACIFIC SEAFOOD PROCESSING,
                                 LLC; PACIFIC SEAFOOD FLEET, LLC;
                          21     PACIFIC SEAFOOD DISTRIBUTION,                      REDACTED VERSION OF DOCUMENT
                                 LLC; PACIFIC SEAFOOD USA, LLC;                     SOUGHT TO BE SEALED
                          22     DULCICH, INC.; PACIFIC SEAFOOD –
                                 EUREKA, LLC; PACIFIC SEAFOOD –
                          23     CHARLESTON, LLC; PACIFIC
                          24     SEAFOOD – WARRENTON, LLC;
                                 PACIFIC SEAFOOD – NEWPORT, LLC;
                          25     PACIFIC SEAFOOD – BROOKINGS,
                                 LLC; PACIFIC SEAFOOD – WESTPORT,
                          26     LLC; PACIFIC SURIMI – NEWPORT
                                 LLC; BLUE RIVER SEAFOOD, INC.;
                          27
                                 SAFE COAST SEAFOODS, LLC; SAFE
                          28     COAST SEAFOODS WASHINGTON,
                                                 AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                           1   LLC; OCEAN GOLD SEAFOODS, INC.;
                               NOR-CAL SEAFOOD, INC.; KEVIN LEE;
                           2   AMERICAN SEAFOOD EXP, INC.;
                           3   CALIFORNIA SHELLFISH COMPANY,
                               INC.; ROBERT BUGATTO
                           4   ENTERPRISES, INC.; ALASKA ICE
                               SEAFOODS, INC.; LONG FISHERIES,
                           5   INC.; CAITO FISHERIES, INC.; CAITO
                               FISHERIES, LLC; SOUTHWIND FOODS,
                           6   LLC; FISHERMEN’S CATCH, INC.;
                           7   GLOBAL QUALITY FOODS, INC.;
                               GLOBAL QUALITY SEAFOOD LLC;
                           8   OCEAN KING FISH INC.; SOUTH BEND
                               PRODUCTS LLC; SWANES SEAFOOD
                           9   HOLDING COMPANY LLC;
                               BORNSTEIN SEAFOODS, INC.;
                          10
                               ASTORIA PACIFIC SEAFOODS, LLC;
                          11   and DOES 30-60,

                          12             Defendants.
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                           1          Plaintiffs Brand Little (“Little”) and Robin Burns (“Burns”) (collectively, “Plaintiffs”) on
                           2   behalf of themselves and all others similarly situated (collectively, the “Class”), allege, on
                           3   information and belief based upon the investigation of counsel, except where based on personal
                           4   knowledge, against Defendants Pacific Seafood Procurement, LLC, Pacific Seafood Distribution,
                           5   LLC, Pacific Seafood Processing, LLC, Pacific Seafood USA, LLC, Dulcich, Inc., Pacific
                           6   Seafood – Eureka, LLC; Pacific Seafood – Charleston, LLC, Pacific Seafood – Warrenton, LLC,
                           7   Pacific Seafood – Newport, LLC, Pacific Seafood – Brookings, LLC, Pacific Seafood – Westport,
                           8   LLC, and Pacific Surimi – Newport LLC, which collectively do business and are commonly
                           9   known as a single entity named “Pacific Seafood” (collectively, “Pacific Seafood”), Blue River
                          10   Seafood, Inc.; Safe Coast Seafoods, LLC; Safe Coast Seafoods Washington, LLC, which
                          11   collectively do business and are commonly known as a single entity named “Safe Coast”
                          12   (collectively, “Safe Coast”), Ocean Gold Seafoods, Inc. (“Ocean Gold”), Nor-Cal Seafood, Inc.
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                          13   “Nor-Cal”), Kevin Lee, American Seafood Exp, Inc. (“ASE”), California Shellfish Company, Inc.
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                          14   and Robert Bugatto Enterprises, Inc., which collectively do business and are commonly known as
                          15   a single entity named “Hallmark” (collectively, “Hallmark”), Alaska Ice Seafoods, Inc. and Long
                          16   Fisheries, Inc., which collectively do business and are commonly known as a single entity named
                          17   “Fathom Seafood” (collectively, “Fathom Seafood”), Caito Fisheries, Inc., Caito Fisheries, LLC,
                          18   and Southwind Foods, LLC, which collectively do business and are commonly known as a single
                          19   entity named “Caito” (collectively, “Caito”), Fishermen’s Catch, Inc. (“Fishermen’s Catch”),
                          20   Global Quality Foods, Inc. and Global Quality Seafood LLC, which collectively do business and
                          21   are commonly known as a single entity named “Global Quality Seafood” (collectively, “Global
                          22   Quality”), Ocean King Fish Inc. (“Ocean King”), South Bend Products LLC and Swanes Seafood
                          23   Holding Company LLC, which collectively do business and are commonly known as a single
                          24   entity named “South Bend” (collectively, “South Bend”), Bornstein Seafoods, Inc. and Astoria
                          25   Pacific Seafoods, LLC, which collectively do business and are commonly known as a single
                          26   entity named “Bornstein” (collectively, “Bornstein”), as well as Does 30-60, (collectively,
                          27   “Defendants”), as follows:
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     1
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                           2           1.      Plaintiff Brand Little and the Class are the approximately 1,400 independent
                           3   commercial crabbers who land Dungeness crab in California, coastal Washington (which
                           4   excludes Puget Sound), and Oregon (collectively the “Pacific NW Area”). Plaintiff Robin Burns
                           5   was married to one of those crabbers, Kenny Burns, who died in 2021 after years spent earning
                           6   his living from the sea.
                           7           2.      Over the decades, the Dungeness crab fishery has become the most important
                           8   fishery for Pacific NW Area commercial fishers and the families and communities that depend on
                           9   them.
                          10           3.      In the mid-2000s, the prices paid by Defendants and other buyers to Pacific NW
                          11   Area crabbers for their crab—what is referred to in the fishing industry and herein as the “ex
                          12   vessel price,” which means the price off the boat—started to climb as increased demand for
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                          13   Dungeness crab in Asia and elsewhere translated into higher ex vessel prices.
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                          14           4.      Defendants are effectively middlemen between crabbers and consumers who enjoy
                          15   the crab that the crabbers risk their lives to catch and deliver to the port.
                          16           5.      They do not risk their lives on the Pacific Ocean in 12-oots long-period winter
                          17   swells bearing down from the Bering Sea. They do not go into debt to pay for million-dollar boats
                          18   and hundreds of thousands of dollars of gear. They do not catch the crabs.
                          19           6.      Rather, for the most part, Defendants simply write a check to crabbers, have
                          20   someone truck or fly the crabs to another middleman buyer or retail outlet customer like a grocery
                          21   store or restaurant.
                          22           7.      Nonetheless, in advance of the 2015/16 Pacific NW Area Dungeness crab season,
                          23   Defendants decided to form a cartel of Pacific NW Area Dungeness crab buyers that had the
                          24   purpose and effect of driving down the ex vessel price of Dungeness crab in the Pacific NW Area,
                          25   so that the Defendants could earn higher profits. . . so the middlemen can make even more money
                          26   than the people doing the work and risking their lives.
                          27           8.      As in detail alleged herein, Defendants, led by Pacific Seafood, have created a
                          28   pricing cartel that has artificially fixed, depressed, and controlled the ex vessel price paid to
                                                      AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                   2
                           1   crabbers in the Pacific NW Area since the beginning of the 2015/16 season, through the
                           2   employment of a variety of means, including, without limitation:
                           3                  a. agreeing not to compete with each other on the price offered to crabbers at the
                           4                      opening of the Dungeness crab season, instead, giving Pacific Seafood the
                           5                      authority to set that price for all Defendants at artificially low levels;
                           6                  b. agreeing to delay the opening of some Dungeness crab seasons until later in
                           7                      the year when consumer demand would be lower and cause less upward
                           8                      pressure on early-season prices, which in turn set a benchmark and starting
                           9                      point for prices that would be paid for the rest of the season;
                          10                  c. coordinating the ex vessel prices they pay to crabbers in the Pacific NW Area
                          11                      as the season progresses;
                          12                  d. policing compliance by Defendants and other buyers with the artificially low
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                          13                      ex vessel price set by the cartel; and
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                          14                  e. agreeing not to purchase Dungeness crab directly from crabbers in ports where
                          15                      they lack a presence but rather, instead, to acquire such crab “out the
                          16                      backdoor” from their fellow Defendants with a presence in the port (thereby
                          17                      eliminating what had previously been one of the principal drivers of in-season
                          18                      price increases).
                          19          9.      These allegations are based inter alia on text messages and other documents
                          20   produced by Defendants, detailed records from the California, Washington, and Oregon
                          21   Departments of Fish and Wildlife, and percipient information provided by industry participants,
                          22   including an individual whose recent entrance into the Pacific NW Area Dungeness crab ex
                          23   vessel market was met first by concerted attempts by Defendants to bring the new entrant into
                          24   their pricing cartel and, when that failed, with threats and retaliation.
                          25          10.     Defendants’ actions as alleged herein constitute a continuing agreement,
                          26   understanding, and conspiracy in restraint of trade in violation of Section 1 of the Sherman Act,
                          27   15 U.S.C. § 1 in violation of the California Cartwright Act, Cal. Bus. and Prof. Code, §§ 16720,
                          28   et seq., and California Unfair Competition Law, Cal. Bus. and Prof. Code §§ 17200, et seq.
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                   3
                           1          11.     Plaintiffs, on behalf of themselves and those similarly situated, respectfully seek
                           2   remedies for this illegal conduct including compensation for their injuries suffered as a result and
                           3   appropriate injunctive relief.
                           4                                                PARTIES
                           5   I.     Plaintiffs
                           6          12.     Plaintiff BRAND LITTLE (“Little”) is an individual residing in Auburn,
                           7   California. Little has been a commercial fisherman since 2004 and fishes for Dungeness crab,
                           8   black cod, salmon, and other species in the waters off the coast of California, landing fish from
                           9   his fishing vessel, the Pale Horse and his previous vessels, in various California ports, including
                          10   San Francisco and Crescent City. In addition to his fishing business, Mr. Little operates a seafood
                          11   retail business that operates at farmers markets and through which he sells both fish he has caught
                          12   himself and fish purchased from other sources, including Pacific Seafood. During the proposed
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                          13   class period of January 1, 2016 to the present (the “Class Period”), Mr. Little sold Dungeness crab
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                          14   ex vessel to Defendant Pacific Seafood-Eureka, LLC, Unnamed Co-conspirator #1, and Unnamed
                          15   Co-conspirator #2 in the Pacific NW Area. This includes sales to Defendant Pacific Seafood-
                          16   Eureka, LLC during the 2018/19 Dungeness crab season, sales to Unnamed Co-conspirator #1, in
                          17   four of the last five seasons, and Unnamed Co-conspirator #2, in the 2023/24 season. Prior to
                          18   Pacific Seafood’s acquisition of Pezzolo Seafood, in 2022, during the period of January 2021
                          19   through February 2022, Little sold crab to Pezzolo Seafood. After Pacific Seafood acquired
                          20   Pezzolo, he agreed to sell his Dungeness crab to Pacific Seafood, as Pezzolo’s successor in
                          21   interest, during the 2022/2023 season. However, like some other members of the Class, Little was
                          22   made the subject of a group boycott by Pacific Seafood when he refused this season to comply
                          23   with Pacific Seafood with regard to ex vessel prices. In reaction to statements by Little protesting
                          24   Pacific Seafood's manipulation of the Dungeness crab market and refusal to offer a price during
                          25   negotiations, Pacific Seafood’s General Manager for Processing Southern Division, Joe Cincotta,
                          26   made clear that Pacific Seafood would not purchase crab (or anything else) from him; Pacific
                          27   Seafood also instructed other fish buyers in the Pacific NW Area not to purchase crab from Little.
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                      4
                           1   During the Class Period, Plaintiff Little caught and sold Dungeness crab ex vessel in the Pacific
                           2   NW Area at ex vessel prices that were artificially depressed by Defendants’ unfair and illegal
                           3   anticompetitive activities.
                           4          13.     Plaintiff ROBIN BURNS (“Burns”) is an individual residing in Eureka,
                           5   California. Plaintiff Burns’ late husband, Kenneth Burns, was a life-long fisherman who fished
                           6   for Dungeness crab, in addition to other species, throughout California and Oregon up until his
                           7   passing in September of 2021. Ms. Burns stands in the place of her late husband and asserts the
                           8   claims contained herein on his behalf. During the Class Period, Kenneth Burns sold Dungeness
                           9   crab in the Pacific NW area to: Defendant Ocean Gold Seafoods, Inc. in the 2015/16 season;
                          10   Defendant Robert Bugatto Enterprises, Inc. in the 2017/18 season; Defendant Pacific Seafood –
                          11   Eureka LLC in the 2016/17, 2018/19, and 2019/20 seasons; Defendant Nor-Cal Seafood Inc. in
                          12   the 2019/20 season, and Defendant American Seafood Express Inc. in the 2020/21 season. During
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                          13   the Class Period until his death in September of 2021, Mr. Burns caught and sold Dungeness crab
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                          14   ex vessel in the Pacific NW Area at ex vessel prices that were artificially depressed by
                          15   Defendants’ unfair and illegal anticompetitive activities.
                          16   II. Defendants
                          17          A.      Pacific Seafood Defendants
                          18          14.     Defendant PACIFIC SEAFOOD PROCUREMENT, LLC is an Oregon limited
                          19   liability company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR.
                          20   The sole member of Pacific Seafood Procurement is Defendant Dulcich, Inc. Pacific Seafood
                          21   Procurement, in its most recent annual report filed with the Oregon Secretary of State, describes
                          22   its business as “procurement of fresh and frozen seafood products.”
                          23          15.     Defendant PACIFIC SEAFOOD PROCESSING, LLC is an Oregon limited
                          24   liability company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR.
                          25   The sole member of Pacific Seafood Processing is Defendant Dulcich, Inc. Pacific Seafood
                          26   Processing, in its most recent annual report filed with the Oregon Secretary of State, describes its
                          27   business as the “purchase, manufacture, and sale of seafood products.” Pacific Seafood
                          28   Processing, LLC is the sole owner of a number of limited liability companies associated with
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                      5
                           1   particular processing plants that Pacific Seafood has acquired in the NW Pacific Area, including:
                           2   Pacific Seafood - Brookings, LLC; Pacific Seafood - Charleston; Pacific Seafood - Eureka, LLC;
                           3   Pacific Seafood - Newport, LLC; Pacific Seafood -Warrenton, LLC; Pacific Seafood – Westport,
                           4   LLC; and Pacific Seafood – Woodland, LLC.
                           5          16.     Defendant PACIFIC SEAFOOD FLEET, LLC is an Oregon limited liability
                           6   company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR. The sole
                           7   member of Pacific Seafood Fleet is Defendant Dulcich, Inc. Pacific Seafood Fleet, in its most
                           8   recent annual report filed with the Oregon Secretary of State, describes its business as “ownership
                           9   of commercial fishing vessels.”
                          10          17.     Defendant PACIFIC SEAFOOD DISTRIBUTION, LLC is an Oregon limited
                          11   liability company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR.
                          12   The sole member of Pacific Seafood Distribution is Defendant Dulcich, Inc. Pacific Seafood
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                          13   Distribution, in its most recent annual report filed with the Oregon Secretary of State, describes
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                          14   its business as “distribution of fresh and frozen seafood products.” Pacific Seafood Distribution is
                          15   the sole member of a number of limited liability companies in the NW Pacific Area, including:
                          16   Pacific Seafood – Los Angeles, LLC; Pacific Seafood – Portland, LLC; Pacific Seafood – Seattle,
                          17   LLC;
                          18          18.     Defendant PACIFIC SEAFOOD USA, LLC is an Oregon limited liability
                          19   company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR. The sole
                          20   member of Pacific Seafood USA is Defendant Dulcich, Inc. Pacific Seafood USA, in its most
                          21   recent annual report filed with the Oregon Secretary of State, describes its business as “domestic
                          22   sale of fresh and frozen seafood products.”
                          23          19.     Defendant DULCICH, INC. is an Oregon corporation with a principal place of
                          24   business of 16797 SE 130th Ave., Clackamas, OR. The president and 100% owner of Dulcich,
                          25   Inc. is Frank Dulcich.
                          26          20.     Defendant PACIFIC SEAFOOD – EUREKA, LLC is a California limited
                          27   liability company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR.
                          28   The sole member of Pacific Seafood-Eureka is Defendant Pacific Seafood Processing, LLC.
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                    6
                           1   During the relevant time period, all ex vessel purchases of Dungeness crab before         by Pacific
                           2   Seafood from class members in              were conducted through Pacific Choice Seafood
                           3   Company, the predecessor in interest to Pacific Seafood-Eureka. During the relevant time period,
                           4   all ex vessel purchases of Dungeness crab during or after       by Pacific Seafood from class
                           5   members in             were conducted through Pacific Seafood-Eureka.
                           6          21.     Defendant PACIFIC SEAFOOD – CHARLESTON, LLC is an Oregon limited
                           7   liability company with a principal place of business of 63501 Boat Basin Road, Charleston, OR.
                           8   The sole member of Pacific Seafood Charleston is Defendant Pacific Seafood Processing, LLC.
                           9   Pacific Seafood - Charleston, LLC in its most recent annual report filed with the Oregon
                          10   Secretary of State, describes its business as “seafood processing and distribution.” During the
                          11   relevant time period, all ex vessel purchases of Dungeness crab by Pacific Seafood from class
                          12   members in                                                         were conducted through Pacific
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                          13   Seafood – Charleston, LLC.
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                          14          22.     Defendant PACIFIC SEAFOOD – WARRENTON, LLC is an Oregon limited
                          15   liability company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR.
                          16   The sole member of Pacific Seafood Warrenton is Defendant Pacific Seafood Processing, LLC.
                          17   Pacific Seafood Warrenton, in its most recent annual report filed with the Oregon Secretary of
                          18   State, describes its business as “seafood processing.” During the relevant time period, all ex
                          19   vessel purchases of Dungeness crab by Pacific Seafood from class members in
                          20                             were conducted through Pacific Seafood – Warrenton, LLC.
                          21          23.     Defendant PACIFIC SEAFOOD – NEWPORT, LLC is an Oregon limited
                          22   liability company with a principal place of business of 623 SW Bay Blvd, Newport, OR. The sole
                          23   member of Pacific Seafood Newport is Defendant Pacific Seafood Processing, LLC. Pacific
                          24   Seafood Newport, in its most recent annual report filed with the Oregon Secretary of State,
                          25   describes its business as “purchase, manufacture, and sale of seafood products.” During the
                          26   relevant time period, all ex vessel purchases of Dungeness crab by Pacific Seafood from class
                          27   members in                                     were conducted through Pacific Seafood –
                          28   Newport, LLC.
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1          24.     Defendant PACIFIC SEAFOOD – BROOKINGS, LLC is an Oregon limited
                           2   liability company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR.
                           3   The sole member of Pacific Seafood Brookings is Defendant Pacific Seafood Processing, LLC.
                           4   Pacific Seafood Brookings, in its most recent annual report filed with the Oregon Secretary of
                           5   State, describes its business as “seafood processing.” During the relevant time period, all ex
                           6   vessel purchases of Dungeness crab by Pacific Seafood from class members in
                           7           were made through Pacific Seafood – Brookings, LLC.
                           8          25.     Defendant PACIFIC SEAFOOD – WESTPORT, LLC is a Washington limited
                           9   liability company with a principal place of business of 1980 N. Nyhus St., Westport, WA. The
                          10   governing entity of Pacific Seafood Westport is Defendant Pacific Seafood Processing, LLC.
                          11   Pacific Seafood Westport, in its most recent annual report filed with the Washington Secretary of
                          12   State, describes its business as “seafood processing and distribution.” During the relevant time
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                          13   period, all ex vessel purchases of Dungeness crab by Pacific Seafood from class members in
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                          14                were made through Pacific Seafood – Westport, LLC.
                          15          26.     Defendant PACIFIC SURIMI – NEWPORT LLC is an Oregon limited liability
                          16   company with a principal place of business of 16797 SE 130th Ave., Clackamas, OR. The sole
                          17   member of Pacific Surimi Newport is Defendant Pacific Seafood Processing, LLC. Pacific Surimi
                          18   Newport, in its most recent annual report filed with the Oregon Secretary of State, describes its
                          19   business as “manufacture and sale of surimi seafood products.” During the relevant time period,
                          20   ex vessel purchases of Dungeness crab by Pacific Seafood from class members in various
                          21   ports were made through Pacific Surimi – Newport, LLC.
                          22          27.     Does 1 through 7 are substituted with Defendants Pacific Seafood - Eureka, LLC,
                          23   Pacific Seafood - Charleston, LLC, Pacific Seafood - Warrenton, LLC, Pacific Seafood -
                          24   Newport, LLC, Pacific Seafood - Brookings, LLC, Pacific Seafood - Westport, LLC, Pacific
                          25   Surimi - Newport LLC.
                          26          28.     Defendants Pacific Seafood Procurement, LLC, Pacific Seafood Distribution,
                          27   LLC, Pacific Seafood Processing, LLC, Pacific Seafood USA, LLC, Dulcich, Inc., Pacific
                          28   Seafood - Eureka, LLC, Pacific Seafood - Charleston, LLC, Pacific Seafood - Warrenton, LLC,
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   Pacific Seafood - Newport, LLC, Pacific Seafood - Brookings, LLC, Pacific Seafood - Westport,
                           2   LLC, Pacific Surimi - Newport LLC, collectively and through wholly owned subsidiaries do,
                           3   and/or have done during the relevant period, business and are commonly known as a single entity
                           4   referred to by their employees, customers, and suppliers (including Dungeness crab fishers) as
                           5   “Pacific Seafood,” “Pacific Choice,” “Choice,” and “No Choice.” The defendants described in the
                           6   paragraph are collectively referred to herein as “Pacific Seafood.”
                           7          29.     When doing business with crabbers, other fishers, and the public, the various
                           8   entities making up Pacific Seafood present themselves as a single vertically integrated company.
                           9   Pacific Seafood’s website, www.pacificseafood.com, accordingly describes itself as a single
                          10   “family owned” company, “employing more than 3,000 team members across 41 facilities in 11
                          11   states.” It further states “Pacific Seafood manages all parts of the supply chain from
                          12   harvesting/fishing to processing, and distribution.” The website also touts the breadth of Pacific
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                          13   Seafood’s footprint in the seafood industry—listing more than 40 species sold by it.
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                          14          30.     Pacific Seafood was started in 1941 by the grandfather of Frank Dulcich, who
                          15   ultimately owns and controls all the named Pacific Seafood-related Defendants.
                          16          31.     Pacific Seafood refuses to participate in industry rankings that have traditionally
                          17   been conducted by fishing industry publications, such as SeafoodSource, or to publicly provide
                          18   information regarding its sales. However, in 2012, it was identified by the Portland Business
                          19   Journal as the nation’s largest seafood company with revenues of more than $1 billion that year.
                          20          32.     Since 2012, Pacific Seafood has only grown larger, engaging in an aggressive
                          21   acquisition strategy that has included—in addition to the former Dungeness crab processing
                          22   companies discussed below—acquisitions of, and/or substantial investments in, by Pacific
                          23   Seafood entities or Mr. Dulcich himself, large former competitors, such as Defendant Ocean
                          24   Gold, Inc. and American Seafood, as well as smaller companies, such as Keltic Seafood, with an
                          25   apparent focus on seafood processors.
                          26          33.     Thus, while the same article from 2012 cited above describes Pacific Seafood as
                          27   employing 2,500 people at seven locations, Pacific Seafood’s website now describes it as
                          28   employing 3,000 people at 41 locations. And the same Portland business journal reported that, in
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                                                                                                                                    9
                           1   2021, Pacific Seafood “enjoyed record profits.”
                           2          34.     Following his acquisition of Pacific Seafood from his family in 1994, Mr.
                           3   Dulcich’s mother was forced to sue him to receive the money promised in the transaction and
                           4   other family members sued him alleging fraud and other financial misconduct.
                           5          35.     Among those in the seafood industry not related to Mr. Dulcich, he and Pacific
                           6   Seafood have become known for brazen and ruthless anticompetitive tactics. In particular, Mr.
                           7   Dulcich and Pacific Seafood have used their size and ability to withstand substantial discrete
                           8   losses to inflict significant financial consequences on those who do things contrary to Mr.
                           9   Dulcich’s or Pacific Seafood’s desires or instruction.
                          10          36.     Indeed, Mr. Dulcich has been clear for years about his ambitions and his methods.
                          11   Mr. Dulcich is known to instruct his managers to “use and abuse” rival companies and “kill our
                          12   allies last.” He has also been explicit about his willingness to use unfair and illegal practices to
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                          13   achieve his aims. When a crabber complained to Dulcich about Pacific Seafood’s cheating on the
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                          14   agreed-upon price for Dungeness crab, Dulcich responded: “I’m going to fuck you on the price or
                          15   fuck you on the weight, which one do you want?”
                          16          37.     This attitude has resulted in repeated litigation by fishers and competing fish
                          17   processors against Pacific Seafood, including one, Whaley v. Pac. Seafood Grp., No. 1:10-CV-
                          18   3057-MC (D. Or.) (“Whaley”), in which—following certification of a litigation class—the class’s
                          19   Sherman Act (§§ 1 & 2) were resolved, in 2012, through a settlement that required Pacific
                          20   Seafood to take certain actions and refrain from others for a period of five years.
                          21          38.     It has also resulted in successful criminal prosecutions of Pacific Seafood for both
                          22   environmental crimes and theft from fishers, as well as thousands of cited regulatory violations.
                          23          39.     Pacific Seafood’s principal representatives in the Pacific NW Dungeness crab ex
                          24   vessel market include Frank Dulcich, Dan Obradovich, Rick Harris, Brett Hester, John Moody,
                          25   and Joe Cincotta.
                          26          B.      Safe Coast Defendants
                          27            40.   Defendant BLUE RIVER SEAFOOD, INC. is a California corporation with a
                          28   principal place of business of 25447 Industrial Blvd., Hayward, CA. Chris Lam is Blue River
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   Seafood’s Chief Executive Officer and Chief Financial Officer. Ha Lam is the company’s
                           2   Secretary.
                           3            41.   Defendant SAFE COAST SEAFOODS, LLC is a California limited liability
                           4   company with a principal place of business of 25447 Industrial Blvd., Hayward, CA. Safe Coast
                           5   Seafood’s manager and CEO is Christopher Lam.
                           6            42.   Defendant SAFE COAST SEAFOODS WASHINGTON, LLC is a Washington
                           7   limited liability company with a principal place of business of 25447 Industrial Blvd., Hayward,
                           8   CA. Safe Coast Seafood Washington’s Governor is Christopher Lam.
                           9            43.   Defendant Blue River Seafood, Inc., which does business as Pucci Foods, owns
                          10   100% of Safe Coast Seafood and Safe Coast Seafood Washington.
                          11            44.   Blue River Seafood, Inc., Safe Coast Seafood, LLC, and Safe Coast Seafood
                          12   Washington, LLC, collectively, do, and/or have done during the relevant period, business as Safe
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                          13   Coast, Safe Coast Seafood, Safe Coast Seafood WA, Jessie’s Ilwaco Fish Co Inc, Pucci Foods,
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                          14   and Pucci, and are collectively referred to herein as “Safe Coast.”
                          15            45.   Confidential Buyer Informant #1 has done frequent business with Safe Coast
                          16   during the relevant period. The checks he receives from Safe Coast in the course of such business
                          17   are from Pucci Foods.
                          18            46.   Safe Coast’s principal representatives in the Pacific NW Dungeness crab ex vessel
                          19   market include its General Manager, Max Boland, who also worked in that position for Safe
                          20   Coast’s predecessor in interest, Alber Seafood. Safe Coast acquired Alber Seafood in early 2021.
                          21            47.   Safe Coast’s Max Boland described Pucci Foods as Safe Coast’s parent in an
                          22   exchange with Confidential Fish Buyer #1.
                          23            48.   Jessie’s Ilwaco Fish Co Inc. went into receivership in 2020, after which landings
                          24   stopped. Following the receivership, Safe Coast started making landings in
                          25            49.   Before going into receivership, Jessie’s Ilwaco Fish Co Inc. received a substantial
                          26   investment from Frank Dulcich.
                          27

                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1            50.    During the relevant time period, ex vessel purchases of Dungeness crab by Safe
                           2   Coast from class members in                                                were made through
                           3   Safe Coast Seafood, LLC.
                           4            51.    During the relevant time period, ex vessel purchases of Dungeness crab by Safe
                           5   Coast from class members in
                           6                                      were made through Safe Coast Seafood Washington., LLC.
                           7            52.    Does 8, 9, and 10 are substituted with Safe Coast Seafood, LLC and Safe Coast
                           8   Seafood Washington, LLC.
                           9           C.      Ocean Gold Defendant
                          10            53.    Defendant OCEAN GOLD SEAFOODS, INC. is a Washington corporation with
                          11   a principal place of business of 1804 N Nyhus St, Westport, WA. Ocean Gold Seafoods, Inc.
                          12   does, and/or has done in the relevant period, business as Ocean Gold and is referred to herein as
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                          13   “Ocean Gold.”
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                          14            54.    The 2012 settlement of the Whaley case—which alleged inter alia that Pacific
                          15   Seafood and Ocean Gold conspired to fix ex vessel prices of Pacific whiting—prohibited Pacific
                          16   Seafood, during the five years of the settlement’s term, from renewing an agreement by which
                          17   Pacific Seafood acted as the exclusive marketer of Ocean Gold’s seafood products and required
                          18   an existing agreement to be amended to remove Pacific Seafood’s control over Ocean Gold’s ex
                          19   vessel pricing. These prohibitions ended in 2017, and Ocean Gold’s website now states: “Our
                          20   markets are primarily international in Eastern Europe and Asia. Our marketing partner, Pacific
                          21   Seafoods, manages the sales piece of our business.”
                          22            55.    Ocean Companies Holding Co., LLC, a Washington LLC, lists Frank Dulcich as
                          23   its governor, the principal office address is 16797 SE 130th Ave, Clackamas, OR, and the email
                          24   address is legal@pacificseafood.com. Ocean Companies Holding Co., LLC owns 49% of Ocean
                          25   Gold.
                          26            56.    Ocean Gold’s principal representatives in the Pacific NW Area Dungeness crab ex
                          27   vessel market include Mark Rydman.
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                   12
                           1            57.   During the relevant time period, Ocean Gold made ex vessel purchases of
                           2   Dungeness crab from class members in
                           3                          Ocean Gold also made ex vessel purchases from class members in
                           4

                           5            58.   Doe 11 is substituted with Ocean Gold Seafoods, Inc.
                           6          D.      Nor-Cal Defendants
                           7          59.     Defendant NOR-CAL SEAFOOD, INC. is a California corporation with a
                           8   principal place of business of 2810 E 7th St., Oakland, CA.
                           9          60.     Defendant KEVIN LEE is a California resident residing in the Eastern portion of
                          10   the San Francisco Bay Area in California. Kevin Lee founded Nor-Cal Seafood, Inc. with his
                          11   wife, Kathy Lee, in 1992 and has since that time controlled and directed operations of the
                          12   company.
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                          13          61.     Nor-Cal Seafood, Inc. and Kevin Lee collectively do, and/or have done in the
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                          14   relevant period, business as Nor-Cal and are collectively referred to herein as “Nor-Cal.”
                          15          62.     Nor-Cal’s principal representatives in Pacific NW Area Dungeness crab ex vessel
                          16   market include Kevin Lee.
                          17          63.     During the relevant time period, Nor-Cal made ex vessel purchases of Dungeness
                          18   crab from class members in
                          19

                          20

                          21          64.     Plaintiff Brand Little issued a subpoena to Nor-Cal, on June 12, 2024, pursuant to
                          22   this Court’s order, Dkt. 61, and served it on Nor-Cal’s counsel who represented he was authorized
                          23   to accept service of it. Nor-Cal did not respond to the subpoena, despite several attempts by
                          24   Plaintiff to elicit a response, resulting in the Court’s issuance of an order compelling Nor-Cal’s
                          25   compliance with the subpoena, on August 13, 2024, Dkt. 73. Despite having been served the
                          26   order, Nor-Cal still has not responded to the subpoena and is in contempt of the Court’s order.
                          27          65.     At a gathering held on or around August 14, 2024, Nor-Cal’s principal Kevin Lee
                          28   bragged at a social gathering that he just “sold” Nor-Cal to evade liability from the instant
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   lawsuit. He stated further that he did so because this was what others in the group recommended
                           2   he do and what others had done, citing Pacific Seafood and Caito as examples.
                           3          66.     Does 12 and 13 are substituted with Nor-Cal Seafood, Inc. and Kevin Lee.
                           4          E.      ASE Defendant
                           5          67.     Defendant AMERICAN SEAFOOD EXP, INC. is a California corporation with
                           6   a principal place of business of 2029 Ingalls St., San Francisco, CA.
                           7          68.     American Seafood Exp, Inc.’s predecessor in interest is American Seafood
                           8   Express, LLC. American Seafood Exp does, and/or has done in the relevant period, business as
                           9   ASE and is referred to herein as “ASE.”
                          10          69.     ASE’s principal representatives in the Pacific NW Area Dungeness crab ex vessel
                          11   market include Kevin Zheng.
                          12          70.     During the relevant time period, ASE made ex vessel purchases of Dungeness crab
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                          13   from class members in
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                          14                    .
                          15          71.     Doe 14 is substituted with American Seafood Exp, Inc.
                          16          F.      Hallmark Defendants
                          17          72.     Defendant CALIFORNIA SHELLFISH COMPANY, INC. is a California
                          18   corporation with a principal place of business of 505 Beach Street, Suite 200, San Francisco, CA.
                          19          73.     Defendant ROBERT BUGATTO ENTERPRISES, INC. is a California
                          20   corporation with a principal place of business of 835 Highway One, Bodega Bay, CA.
                          21          74.     Robert Bugatto Enterprises, Inc. lists Eugene Bugatto as CEO and Michael
                          22   Bugatto as Secretary. California Shellfish Company, Inc. lists Eugene Bugatto as CEO and
                          23   Michael Bugatto as Secretary, and is the registered owner of Hallmark Fisheries and Point Adams
                          24   Packing. California Shellfish Company, Inc. and Robert Bugatto Enterprises, Inc. collectively do,
                          25   and/or have done during the relevant period, business as Hallmark Seafood, Point Adams
                          26   Packing, and The Tides and are collectively referred to herein as “Hallmark.”
                          27          75.     Hallmark’s principal representatives in Pacific NW Area Dungeness crab ex vessel
                          28   market include Scott Adams and Crystal Adams.
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                                                                                                                                   14
                           1          76.     During the relevant time period, Hallmark made ex vessel purchases of Dungeness
                           2   crab from class members in
                           3         n through Hallmark Fisheries.
                           4          77.     During the relevant time period, Hallmark made ex vessel purchases of Dungeness
                           5   crab from class members in                 n through Adams Point Packing Co. – Hammond.
                           6          78.     During the relevant time period, Hallmark made ex vessel purchases of Dungeness
                           7   crab from class members in                           through Robert Bugatto Enterprises, Inc. and
                           8                                through California Shellfish Company Inc.
                           9          79.     Does 15 and 16 are substituted with California Shellfish Company, Inc. and Robert
                          10   Bugatto Enterprises, Inc.
                          11          G.      Fathom Defendants
                          12          80.     Defendant ALASKA ICE SEAFOODS, INC. is a Washington corporation with a
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                          13   principal place of business of 1690 Marine View Dr. Ste C, Tacoma, WA. Cody Mills and Solon
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                          14   Fowler are two of three governors of Alaska Ice Seafood, Inc. listed with the Washington
                          15   Secretary of State. The contact email and physical address listed with the Washington Secretary
                          16   of State for Alaska Ice Seafood, Inc. are accounting@fathomseafood.com and 1690 Marine View
                          17   Dr. Ste C, Tacoma, WA.
                          18          81.     Defendant LONG FISHERIES, INC. is an Oregon corporation with a principal
                          19   place of business of 63469 Kingfisher Rd., Coos Bay, OR, and an official mailing address of
                          20   1690 Marine View Dr. Ste C, Tacoma, WA. Cody Mills and Solon Fowler are listed with the
                          21   Oregon Secretary of State as Long Fisheries, Inc.’s President and Secretary, respectively.
                          22          82.     Fathom Seafood is registered as a DBA for Alaska Ice Seafood, Inc. with the
                          23   Washington Department of Revenue. Long Fisheries is registered as a DBA for both Alaska Ice
                          24   Seafood, Inc. and Fathom Seafood with the Washington Department of Revenue.
                          25          83.     Alaska Ice Seafood, Inc. and Long Fisheries collectively do, and/or have done
                          26   during the relevant period, business as Fathom Seafoods and are collectively referred to herein as
                          27   “Fathom” and “Fathom Seafood.”
                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                    15
                           1          84.     Fathom Seafood’s principal representatives in Pacific NW Area Dungeness crab
                           2   ex vessel market include Nick Mareno and Cody Mills.
                           3          85.     During the relevant time period, Fathom Seafood made ex vessel purchases of
                           4   Dungeness crab from class members
                           5

                           6                through Fathom Seafood, Inc.
                           7          86.     During the relevant time period, Fathom Seafood made ex vessel purchases of
                           8   Dungeness crab from class members
                           9           through Long Fisheries, Inc.
                          10          87.     During the relevant time period, Fathom Seafood made ex vessel purchases of
                          11   Dungeness crab from class members in                                                        through
                          12   Alaska Ice Seafood, Inc.
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                          13          88.     Does 17 and 18 are substituted with Alaska Ice Seafood, Inc. and Long Fisheries,
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                          14   Inc.
                          15          H.      Caito Defendants
                          16          89.     Defendant CAITO FISHERIES, INC. is a California corporation with a principal
                          17   place of business of 19400 S Harbor Dr., Fort Bragg, CA.
                          18          90.     Defendant CAITO FISHERIES, LLC is a California limited liability company
                          19   with a principal place of business of 20644 Fordyce Avenue, Carson, CA.
                          20          91.     Defendant SOUTHWIND FOODS, LLC is a California limited liability company
                          21   with a principal place of business of 20644 Fordyce Avenue, Carson, CA
                          22          92.     Southwind Foods, LLC purchased Caito Fisheries, including all its subsidiary
                          23   entities, in or around April of 2023, within a month or two of Plaintiff’s filing his initial class
                          24   action complaint alleging anti-trust violations in the Dungeness crab fishery in which Caito has
                          25   long been a significant player, and while the Pacific NW Area Dungeness crab season was still in
                          26   full swing. Southwind Foods, LLC and Caito Fisheries Inc. collectively do, and/or have done in
                          27   the relevant period, business as Caito and are referred to herein as “Caito.”
                          28
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                           1           93.     John Caito told Confidential Buyer Informant #1 that the sale to Southwind was
                           2   done in reaction to the filing of the instant case.
                           3           94.     Caito’s principal representatives in Pacific NW Area Dungeness crab ex vessel
                           4   market include John and Joe Caito.
                           5           95.     During the relevant time period, Caito made ex vessel purchases of Dungeness
                           6   crab from class members in                                                                     . Ex
                           7   vessel purchases up to and including                  were made through Caito Fisheries Inc., and ex
                           8   vessel purchases beginning on                     4 were through Caito Fisheries LLC.
                           9           96.     Does 19, 20, and 21 are substituted with Caito Enterprises, LLC, Caito Fisheries,
                          10   Inc., Caito Fisheries, LLC, and Southwind Foods, LLC, respectively.
                          11           I.      Fishermen’s Catch Defendant
                          12           97.     Defendant FISHERMEN’S CATCH, INC. is a California corporation with a
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                          13   principal place of business of 31 Marina Blvd, Pittsburg, CA.
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                          14           98.     Fishermen’s Catch, Inc. does, and/or has done in the relevant period, business as
                          15   Fishermen’s Catch and is referred to herein as “Fishermen’s Catch.”
                          16           99.     Fishermen’s Catch’s principal representatives in Pacific NW Area Dungeness crab
                          17   ex vessel market include Peter Nguyen and Leon Gavin.
                          18           100.    During the relevant time period, Fishermen’s Catch made ex vessel purchases of
                          19   Dungeness crab from class members in
                          20

                          21           101.    Doe 22 is substituted with Fishermen’s Catch, Inc.
                          22           J.      Global Quality Defendants
                          23           102.    Defendant GLOBAL QUALITY FOODS, INC. is a California corporation with
                          24   a principal place of business of 100 Big Break Road, Oakley, CA. Its initial registration address
                          25   was 3524 Investment Blvd, Hayward, CA.
                          26           103.    Defendant GLOBAL QUALITY SEAFOOD LLC is a California limited
                          27   liability company with a principal place of business of 3524 Investment Blvd, Hayward, CA.
                          28
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                           1          104.    Global Quality Foods, Inc. and Global Quality Seafood LLC collectively do,
                           2   and/or have done in the relevant period, business as Global Quality Seafood and are referred to
                           3   herein as, collectively, “Global Quality.”
                           4          105.    Global Quality’s principal representatives in Pacific NW Area Dungeness crab ex
                           5   vessel market include Tony (last name not known at this time).
                           6          106.    During the relevant time period, Global Quality made ex vessel purchases of
                           7   Dungeness crab from class members in                                                a through
                           8   Global Quality Foods Inc. until
                           9          107.    During the relevant time period, beginning in               1, Global Quality
                          10   made ex vessel purchases of Dungeness crab from class members in
                          11                                                through Global Quality Seafood LLC.
                          12          108.    Does 23 and 24 are substituted for Global Quality Foods, Inc. and Global Quality
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                          13   Seafood LLC, respectively.
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                          14          K.      Ocean King Defendant
                          15          109.    Defendant OCEAN KING FISH INC. is a California corporation with a principal
                          16   place of business of 2165 Yates Ave, Commerce, CA.
                          17          110.    Ocean King Fish Inc. does, and/or has done in the relevant period, business as
                          18   Ocean King and is referred to herein as “Ocean King.”
                          19          111.    Ocean King’s principal representatives in Pacific NW Area Dungeness crab ex
                          20   vessel market include George Lay.
                          21          112.    During the relevant time period, Ocean King made ex vessel purchases of
                          22   Dungeness crab from class
                          23                                                                                         .
                          24          113.    Doe 25 is substituted with Ocean King Fish Inc.
                          25          L.      South Bend Defendants
                          26          114.    Defendant SOUTH BEND PRODUCTS LLC is a Washington limited liability
                          27   company with a principal place of business of 237 W. Robert Bush Dr, South Bend, WA.
                          28
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                                                                                                                                 18
                           1          115.     Defendant SWANES SEAFOOD HOLDING COMPANY LLC is a Washington
                           2   limited liability company with a principal place of business of 5440 S Proctor, Tacoma, WA.
                           3          116.     South Bend Products LLC and Swanes Seafood Holding Company LLC
                           4   collectively do, and/or have done in the relevant period, business as South Bend and are
                           5   collectively referred to herein as “South Bend.”
                           6          117.     During the relevant time period, South Bend made ex vessel purchases of
                           7   Dungeness crab from class members in
                           8                           a through Swanes Seafood Holding Company LLC.
                           9          118.     During the relevant time period, South Bend made ex vessel purchases of
                          10   Dungeness crab from class members in                                                 n through
                          11   South Bend Products Inc.
                          12          119.     Does 26 and 27 are substituted with South Bend Products LLC and Swanes
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                          13   Seafood Holding Company LLC, respectively.
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                          14          M.       Bornstein Defendants
                          15          120.     Defendant BORNSTEIN SEAFOODS, INC. is a Washington corporation with a
                          16   principal place of business of 1001 Hilton Ave, Bellingham, Washington.
                          17          121.     Defendant ASTORIA PACIFIC SEAFOODS, LLC is a Washington corporation
                          18   with a principal place of business of 1001 Hilton Ave, Bellingham, Washington. Bornstein
                          19   Seafoods, Inc. is listed as the governor of Astoria Pacific Seafoods, LLC.
                          20          122.     Bornstein Seafood, Inc. and Astoria Pacific Seafood, LLC collectively do, and/or
                          21   have done in the relevant period, business as Bornstein and Bornstein Newport and are
                          22   collectively referred to herein as “Bornstein.”
                          23          123.     Bornstein’s principal representatives in Pacific NW Area Dungeness crab ex
                          24   vessel market include Andrew Bornstein and Mike Shirley.
                          25          124.     During the relevant time period, Bornstein made ex vessel purchases of Dungeness
                          26   crab from class members in
                          27                 through Bornstein Seafoods Inc.
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1           125.     During the relevant time period, Bornstein made ex vessel purchases of Dungeness
                           2   crab from class members in                     through Astoria Pacific Seafoods, LLC.
                           3           126.     Does 28 and 29 are substituted with Bornstein Seafoods Inc. and Astoria Pacific
                           4   Seafoods, LLC, respectively.
                           5           N.       Doe Defendants
                           6           127.     Does 30-60 are defendants whose true names are unknown to Plaintiff. Each of
                           7   these fictitiously named defendants is in some way liable to Plaintiff for the occurrences and
                           8   injuries alleged in this complaint.
                           9   III.    Agents and Co-Conspirators
                          10           128.     Various co-conspirators, some known and some unknown, willingly participated in
                          11   and acted in furtherance of the alleged conspiracy.
                          12           129.     Each Defendant was a co-conspirator with the other Defendants and committed
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                          13   overt acts in furtherance of the conspiracy alleged herein throughout the Pacific NW Area and in
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                          14   this District.
                          15           130.     Defendants participated in the alleged conspiracy through the acts of their officers,
                          16   directors, agents, partners, employees, representatives, affiliates, subsidiaries, and companies they
                          17   acquired through mergers and acquisitions, for whom they are liable.
                          18           131.     At all relevant times, other known and unknown individuals and entities willingly
                          19   conspired with Defendants in their unlawful and illegal conduct. Numerous individuals and entities
                          20   participated actively during the court of, and in furtherance of, the scheme described herein. The
                          21   individuals and entities acted in concert through, amongst other things, joint ventures, and by acting
                          22   as agents for principals in order to advance the objections of the scheme to benefit Defendants and
                          23   themselves through the manipulation of ex vessel Dungeness crab prices.
                          24           132.     Whenever reference is made to an act of any organization, corporation, or other
                          25   business entity, the allegation means that the entity engaged in the act by or through its officers,
                          26   directors, agents, partners, employees, or representatives while they were actively engaged in the
                          27   management, direction, control, or transaction of the organization’s, corporation’s, or other entity’s
                          28   business or affairs.
                                                      AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1          133.    The officers, agents, employees, or representatives operated under the explicit and
                           2   apparent authority of their principals.
                           3          134.    Each Defendant, and its respective subsidiaries, affiliates, and agents operated as a
                           4   single unified entity.
                           5          135.    Individuals alleged to have engaged in misconduct in violation of the laws listed
                           6   herein are alleged to have done so on behalf of all members of their corporate family. Individuals
                           7   within the companies and customers did not know or did not distinguish between the corporate
                           8   affiliations of different individuals. Each Defendant’s entities and their agents all affirmatively and
                           9   collectively represent themselves as one respective corporate family, rather than separate
                          10   subsidiaries and parents.
                          11          136.    Various persons, businesses, or fictitious persons not named as Defendants herein
                          12   may have participated as co-conspirators in the scheme alleged herein and may have performed
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                          13   acts and made statements in furtherance thereof. Plaintiff reserves the right to name some or all of
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                          14   these persons as defendants at a later date.
                          15                            JURISDICTION, VENUE, AND COMMERCE
                          16          137.    The Court has jurisdiction over Plaintiffs’ claims for injunctive relief pursuant to
                          17   Section 16 of the Clayton Act, 15 U.S.C. § 26. The Court also has subject matter jurisdiction under
                          18   28 U.S.C. §§ 1331, 1332(d), 1337(a), and 1367.
                          19          138.    This Court has personal jurisdiction over Defendants because they purposefully
                          20   directed their business activities toward this jurisdiction and had substantial contacts with this
                          21   jurisdiction and because Plaintiffs’ claims for relief arise from and relate to illegal acts committed
                          22   by Defendants within this jurisdiction. Plaintiffs suffered antitrust injury within this jurisdiction.
                          23          139.    Venue is appropriate within this District under 28 U.S.C. §1391 because, at all
                          24   relevant times, Defendants transacted business within this District, and the interstate trade and
                          25   commerce described hereinafter was and is carried out, in substantial part, in this District.
                          26          140.    Defendants engaged in conduct inside the United States that caused direct,
                          27   substantial, and reasonably foreseeable and intended anticompetitive effects upon interstate
                          28   commerce within the United States.
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1          141.    By reason of the unlawful activities hereinafter alleged, Defendants’ unlawful
                           2   activities substantially affected commerce throughout the United States, causing injury to Plaintiffs
                           3   and the members of the proposed Classes (as defined below). Defendants, directly and through their
                           4   agents, engaged in activities affecting multiple states, that were designed to fix prices, unreasonably
                           5   restrain trade, and adversely affect competition in ex vessel Dungeness crab market.
                           6                                  INTRADISTRICT ASSIGNMENT
                           7          142.    Pursuant to Civil Local Rule 3.2 (c) and (d), assignment of this case to the San
                           8   Francisco Division of the United States District Court for the Northern District of California is
                           9   proper because a substantial part of the events giving rise to the claim occurred in San Francisco
                          10   County. Furthermore, several Defendants maintain facilities and execute operations within this
                          11   Division.
                          12                                      FACTUAL ALLEGATIONS
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                          13   I.     Pacific NW Area Ex Vessel Dungeness Crab Industry
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                          14          143.    Dungeness crab is a species of shellfish that is found only in the eastern North
                          15   Pacific Ocean. Dungeness crabs are prized for their size and sweet meat. A classic commodity
                          16   product, Dungeness crab is fungible, with no meaningful difference between crab landed by one
                          17   crabber or another (or, for that matter, resold by one buyer or another).
                          18          144.    They are traditionally enjoyed fresh all along the West Coast, especially around
                          19   the holidays (Thanksgiving, Christmas, the Western New Year, and Chinese New Year) when
                          20   demand is highest and which traditionally corresponds with the opening of the seasons in the
                          21   Pacific NW Area. In the past two decades, a very substantial portion of the catch is also exported
                          22   live to Asian markets, particularly China, but also Korea, Vietnam and other countries.
                          23          145.    Commercial Dungeness crab fishing requires a permit (in California, technically a
                          24   “registration”), which is tied to a specific vessel and allows crabbers to have a certain number of
                          25   traps on that vessel. Rather than being organized by quotas that limit the total amount a crabber
                          26   can catch, the Dungeness crab fishery is what is known as a “derby” fishery: crabbers are entitled
                          27   to use the maximum number of crab traps allowed by their vessel permit to catch as many
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   Dungeness crabs as possible during the season.1 Because the total amount of Dungeness crab
                           2   available to catch is limited and decreases throughout the season, this arrangement incentivizes
                           3   crabbers to go out as soon as the season opens, when there is also the highest volume of
                           4   Dungeness crab. Missing the early days of a given season can therefore have serious ramifications
                           5   on a crabber’s bottom line for that season.
                           6          146.    The Dungeness crab season for most of the Pacific NW Areas opens on December
                           7   1, unless delayed. However, in California’s District 10 (aka Central California), the season starts
                           8   on November 15, unless delayed.
                           9          147.    The November 15 opening date in Central California has meant that fresh
                          10   Dungeness crab has long been available and has been a highly desirable product for Thanksgiving
                          11   and Christmas, as well as for New Year's and Chinese New Year’s. Dungeness crab has therefore
                          12   become a staple on these holidays, and non-export demand for fresh Dungeness crab is at its
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                          13   highest in November and December. This synergy means that consumer demand for fresh
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                          14   Dungeness crab has traditionally peaked at the same time as supply.
                          15          148.    The Dungeness crab season for all regions in the Pacific NW Area has historically
                          16   closed in the summer or very early fall.
                          17          149.    Those who buy Dungeness crab directly from fishers for resale, (i.e., ex vessel),
                          18   are required to hold a fish buyer or receiver license from the state in which they make ex vessel
                          19   purchases.
                          20          150.    Once purchased, Defendants and other buyers resell Dungeness crab either live,
                          21   fresh cooked, frozen (often in sections), or canned. While freezing or canning crab prevents
                          22   spoilage, in terms of taste and texture, frozen and canned Dungeness crab are inferior products
                          23   compared with live or fresh cooked Dungeness crab. When given the choice, consumers strongly
                          24   prefer live or fresh cooked Dungeness crab to frozen or canned.
                          25          151.    During the 2023/24 season, approximately 55,650,00 lbs. of Dungeness crab was
                          26   purchased, in the Pacific NW Area, by 239 licensed fish buyers, for a total reported price of
                          27
                               1
                                Overfishing of the species has been successfully managed since the 1980s by limiting
                          28   commercial crabbers to only male crabs.
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     23
                           1   approximately $207 million. However, a vast majority of the crab was (and every season is)
                           2   purchased by a small subset of these buyers. During the 2023-24 season, a group of 21 buyers
                           3   purchased approximately 88% of the total crab landed in the Pacific NW Area by volume, while
                           4   the remaining 218 buyers accounted for the remaining 12%; and this group of 218 small buyers
                           5   includes many crabbers who are technically required to “purchase” crab they landed from
                           6   themselves before selling the crabs to consumers, restaurants, and other retail purchasers.
                           7          152.    By way of contrast, during the 2023/24 season, Pacific Seafood, alone, directly
                           8   purchased ex vessel 19.6% of the total crab landed in the Pacific NW Area by volume. Its co-
                           9   defendants Ocean Gold, Bornstein, Safe Coast, South Bend, Hallmark, Caito, Fathom, Nor-Cal,
                          10   ASE, Ocean King, and Fisherman’s Catch directly purchased ex vessel 8.89%, 6.65%, 5.26%,
                          11   5.03%, 3.91%, 2.73%, 2.54%, 2.29%, 1.81%, 1.64%, and 1.20% of the total crab landed in the
                          12   Pacific NW Area by volume, respectively.
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                          13          153.    These figures do not include “out-the-backdoor” transactions in which Defendants
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                          14   purchase from other buyers who themselves have made the purchase ex vessel from crabbers. For
                          15   example, Unnamed Co-Conspirator #1 operated, in 2023/24 as a front for Defendant Fishermen’s
                          16   Catch, which took all of the crab purchased by it. In this capacity, Unnamed Co-Conspirator #1
                          17   purchased 1.28% of the total crab landed in the Pacific NW Area by volume during the 2023/24
                          18   season. When this is added to the crab that Fishermen’s Catch directly purchased ex vessel from
                          19   Pacific NW Area crabbers, its total market share increases to 2.48%.
                          20          154.    Most of the largest buyers, including Defendants Bornstein, Caito, Hallmark,
                          21   Ocean Gold, Pacific Seafood, and Safe Coast, are members of the West Coast Seafood Processors
                          22   Association (“WCSPA”). The WCSPA describes itself as an industry trade group that represents
                          23   the interests of members that process seafood in California, Oregon, and Washington.
                          24          155.    At the beginning of the season, when a large volume of crab is landed in a short
                          25   period, most crabbers have no choice but to sell to one or more of the Defendants, as most of the
                          26   smaller buyers do not have the capacity to purchase the quantities landed. Thus, as a result of
                          27   market consolidation and Defendants’ restricting access to many of the ports under their control,
                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   smaller, non-cartel member buyers cannot purchase enough crab to allow the season to open,
                           2   even if they decided to bear the risk of crossing Pacific Seafood and the other Defendants.
                           3          156.    A delayed opener reduces or eliminates the availability of reasonably priced live
                           4   crab during the period of peak domestic consumer demand, which benefits the processor
                           5   Defendants in two ways. First, it eliminates competition during this period of peak demand that its
                           6   frozen crab would otherwise have from superior live crab, allowing the processor Defendants to
                           7   sell more of such frozen crab and at higher prices. Second, it keeps ex vessel Dungeness crab prices
                           8   at an artificially low price by ensuring that crab won’t be landed when domestic consumer demand
                           9   is highest, allowing the processor Defendants to artificially create a buy-low sell-high situation that
                          10   benefits only them.
                          11          157.    While Defendants that don’t process crab don’t reap the benefits of selling frozen
                          12   crab while consumers are clamoring for holiday crab, they do greatly benefit from the suppressed
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                          13   ex vessel prices. And because a delayed opener denies the crabbers vital income before and during
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                          14   the holidays, a delay increases financial pressure on crabbers, making them more likely to go out
                          15   for a lower opening price—which establishes a baseline for prices throughout the season—and
                          16   continue crabbing even when the prices remain depressed, because at a certain point some money
                          17   is ultimately better than no money.
                          18   II.    Defendants’ Price-Fixing Cartel
                          19          A.      Defendants’ Cartel Arose Out of a Marked Increase in Dungeness Ex Vessel
                                              Prices Being Paid to Crabbers in the Pacific NW Area that Started in
                          20                  2006/2007 Season and Continued Through the 2014/15 Season
                          21          158.    For decades, the Pacific NW Area’s ex vessel Dungeness crab market was

                          22   dominated by processors, who canned or froze the crab, with a limited volume of crab being sold

                          23   live and fresh-cooked to restaurants, grocery stores, and the like.

                          24          159.    Beginning in the late 1990s and accelerating in the mid-2000s, the market began to

                          25   shift driven, in large part, by demand in Asia and the opening of live export markets there, with a

                          26   greater and greater amount of crab being purchased ex vessel in the Pacific NW Area to sell live

                          27   and fresh cooked.

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                           1           160.   While Pacific Seafood, who in August 2023 built a new facility in Shanghai to
                           2   distribute live Dungeness crab, and other traditional processors are now significantly involved in
                           3   the live export market, this was not the case in the early years of the market’s transition.
                           4           161.   Rather, a new set of buyers – including Nor-Cal, Ocean King, and ASE, who
                           5   primarily purchased Dungeness crab ex vessel in the Pacific NW Area to sell live in China and
                           6   elsewhere came into the market.
                           7           162.   The effect of the entrance of these new purchasers into the Pacific NW Area ex
                           8   vessel market was to raise ex vessel prices, just as basic economic theory would predict.
                           9           163.   Prior to this shift, when the Pacific NW Area ex vessel market was dominated by
                          10   processors, ex vessel prices stayed in a narrow band of around $1.35 to $2 a pound.
                          11           164.   Starting in or around the 2006/07 season, ex vessel prices started climbing in the
                          12   Pacific NW Area, as these new market entrants began competing to purchase Dungeness crab ex
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                          13   vessel from crabbers.
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                          14           165.   Of particular importance in this dynamic were the roles played by what are
                          15   sometimes referred to in the industry as “white van” buyers and the independent hoists that served
                          16   them.
                          17           166.   These white van buyers, including Nor-Cal, Ocean King, and ASE, would drive
                          18   their eponymous refrigerated white vans to various ports throughout the Pacific NW Area and
                          19   purchase crab directly (i.e., ex vessel) from crabbers in those ports, paying the operators of
                          20   independent hoists in those ports to offload the crab from the crabbers’ boats.
                          21           167.   As independent hoist operators were paid according to the weight of the crab
                          22   offloaded by the buyers, they had a strong financial incentive to encourage white van buyers to
                          23   make ex vessel purchases using the operator’s hoist and for crabbers to sell to the white van
                          24   buyers. Thus, independent hoist operators would actively solicit white van buyers to come to their
                          25   hoists, letting them know which boats were scheduled to come in when, and with how much crab.
                          26   The white van buyers, in turn, would then compete with each other to secure the crab scheduled
                          27   to be landed, calling the crabbers while they were still on the water and out-bidding each other for
                          28   the crabbers’ load.
                                                     AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1          168.    Crabbers being who they are and dock talk being what it is, what a crabber was
                           2   paid for a load of crab was soon widely known among other members of the fleet, who then
                           3   demanded a similar price from the same or different buyers, thus raising market. In other words,
                           4   the Pacific NW Area Dungeness crab ex vessel market behaved as economic theory would predict
                           5   a free market would.
                           6          169.    Thus, by the 2014/15 season, ex vessel prices for Dungeness crab had climbed
                           7   significantly in the Pacific NW Area, with crabbers getting as much as $14/lb.
                           8          170.    The increase in ex vessel prices, in turn, decreased the profit of buyers. As a result,
                           9   in advance of the 2015/16 season it was agreed among Defendants that they would limit the
                          10   amount that they paid for Dungeness crab in the Pacific NW Area ex vessel and work together to
                          11   suppress the ex vessel price for Dungeness crab in the Pacific NW Area more generally.
                          12          171.    At or around the time that this agreement was made, one long-time crabber was
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                          13   told by George Lay of Ocean King, who had paid him $11 to $14/lb during the 2014/15 season,
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                          14   that Nor-Cal’s Kevin Lee and ASE’s Kevin Zhang both told him that he had paid the crabber too
                          15   much the previous season.
                          16          172.    And once the 2015/16 season was underway, the same crabber was pointedly told
                          17   by Ocean Gold’s Gerald Schlaupitz while unloading a load of crab: “Heard you did well in Morro
                          18   Bay last year. You will never see that price again.”
                          19          173.    Mr. Schlaupitz's (informed) prediction was correct. As a result of Defendants’
                          20   agreement to artificially depress ex vessel prices in the Pacific NW Area, the price growth
                          21   previously seen in the market had been reversed. And now, as shown on the graph below, ex
                          22   vessel prices in the Pacific NW Area, when adjusted for inflation, have fallen back to a level
                          23   below the prices being paid in 2001.
                          24          174.    In contrast and as also shown on the graph below, ex vessel prices for Dungeness
                          25   crab in the Puget Sound ex vessel market—which for a variety of reasons, including extensive
                          26   participation in the market by tribal-owned buyers, has escaped Defendants’ control and
                          27   manipulation—have continued to grow and with it the delta between what buyers in Puget Sound
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                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   pay ex vessel for Dungeness crab and what buyers in the Pacific NW Area pay ex vessel for
                           2   exactly the same product.
                           3

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                                      B.      Defendants Have Agreed to Allow Pacific Seafood to Set the Opening Price,
                          20                  which Has Resulted in Delayed Opening and a Lower Opening Price, which Is
                                              the Price at which a Large Portion of the Season’s Catch Is Traditionally Sold
                          21
                                              and Which Sets the Baseline Price for the Remainder of the Season
                          22          175.    Critical to Defendants’ conspiracy to artificially fix, control, and suppress ex
                          23   vessel prices in the Pacific NW Area has been their agreement, during the conspiracy period, to
                          24   allow Pacific Seafood to set the opening ex vessel price for Dungeness crab in the Pacific NW
                          25   Area, rather than offering competing opening prices. Indeed, Defendants not only refuse to pay
                          26   any amount higher than the price dictated by Pacific Seafood but they will also refuse to even
                          27   state a price until Pacific Seafood has stated what the price is.
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1             176.   The lack of competition results in both (a) an artificially lower opening price at
                           2   which a large portion of Dungeness crab caught in the season is sold and (b) the establishment of
                           3   an artificially depressed baseline for prices throughout the season. And, several times, it has
                           4   delayed the opening of Dungeness crab season in some or all of the Pacific NW Area crab
                           5   fishery. This, in turn, eliminates the ability of crabbers to sell ex vessel during the holiday season
                           6   (i.e., when consumer demand for crab is traditionally highest), which further decreases ex vessel
                           7   prices.
                           8             177.   As Defendants well know, they could pay at least approximately $5-7/lb. ex vessel
                           9   to crabbers at the opening of crab seasons in the Pacific NW Area, and still make a significant
                          10   profit. Thus, basic economic logic would predict that, in an unmanipulated market, Defendants
                          11   would compete with each other by offering crabbers higher ex vessel prices until this threshold
                          12   was met.
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                          13             178.   However, as a result of their illegal agreement not to compete with each other on
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                          14   opening price, Defendants have forced crabbers to accept far less than that, reaping huge illegal
                          15   profits on crabbers’ backs during the opening days of the season and beyond.
                          16             179.   Indeed, these illegal excess profits, in combination with the risks posed by
                          17   punishments (discussed herein) that Defendants impose on those who refuse to obey their pricing
                          18   dictates, are so significant that Defendants have, on several occasions in recent years, delayed the
                          19   opening of the season. Thus, instead of offering a fair ex vessel opening price that would allow
                          20   both them and crabbers to make a living, crabbers have lost the opportunity to sell Dungeness
                          21   crab during periods of peak demand when prices otherwise would and should have been at their
                          22   highest.
                          23                    1.     2019/20 Pacific NW Area Dungeness Crab Season
                          24             180.   In a text exchange on January 1, 2020—the day after the Dungeness crab season
                          25   opened in ports north of the Mendocino County line—Fathom’s Nick Mareno indicated to
                          26   Bornstein’s Andrew Bornstein that Fathom had secured the purchase of a load of crab from a boat
                          27

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                                                     AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   in Crescent City on the following Monday and asked Mr. Bornstein, a representative of Borstein
                           2   (a supposed competitor of Fathom), “What’s price doing? Hearing Pacific is raising to $3.25.”
                           3           181.    In response, Mr. Bornstein did not tell Mr. Mareno that he was not comfortable or
                           4   allowed to discuss pricing with the representative of a competitor, but rather responded, “It’s 3.00
                           5   still and will be Monday.” To this, Mr. Mareno responded, “Roger.”
                           6           182.    Three days later, Mr. Mareno texted back Mr. Bornstein to ask, “Still sounding
                           7   like $3 boat price?” And to this, Mr. Bornstein responded, “Yup. Don’t think anyone is gonna
                           8   fish until tmrw at the earliest.”
                           9           183.    Later the same day, Mr. Mareno complained to Mr. Bornstein, “Getting blasted on
                          10   that $3 price…” “Might not work.” To this, Mr. Bornstein responds, “I’m a hard pass on any dock
                          11   price over 3.00.”
                          12           184.    Mr. Bornstein then tells Mr. Mareno, “Pacific Seafood had 2 boats sell to a live
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                          13   guy in Newport today at 3.50 and they were just notified that they lost their bottom fish and
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                          14   shrimp markets and don’t call for bait. Pacific Seafood is playing hard ball at 3.00.”
                          15           185.    All of the Defendants were playing the same agreed-upon hardball: none of them
                          16   paid more than $3 at the opening of any portion of the Pacific NW Area Dungeness crab fishery
                          17   in the 2019/20 season.
                          18                   2.       2020/21 Pacific NW Area Dungeness Crab Season
                          19           186.    At the start of the 2020/21 season, Defendants’ conspiracy effectively blocked the
                          20   Pacific NW Area crab season from opening until mid-January of 2021, substantially after the
                          21   holiday season of peak demand. As state officials in California, Oregon, and Washington gave the
                          22   green light to open the fishery in December of 2020, virtually all of the crabbers remained tied up
                          23   in port, as Pacific Seafood stuck firm to an opening ex vessel price under $3/lb. Even without
                          24   adjusting for inflation, this opening price was lower than what California crabbers received over
                          25   twenty years before at the opening of the 1999/00 season, but, with the exception of
                          26   which surreptitiously purchased crab in a relatively little-used port in Northern California, all of
                          27   the other Defendants toed Pacific Seafood’s line.
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                      30
                           1           187.     In a series of texts sent between January 8, 2021 and January 15, 2021, Ocean
                           2   King’s George Lay and Bornstein’s Andrew Bornstein discussed the price fixing arrangement
                           3   amongst cartel members and coordinated their response to demands by crabbers for higher ex
                           4   vessel prices.
                           5           188.     On January 8, 2021, Mr. Lay texted: “Good morning Andrew. I just heard the fleet
                           6   is going to be asking for $2.75 from you.”
                           7           189.     In response, Mr. Borstein responded in part, “If we refuse are there other buyers
                           8   who would pay that much?”
                           9           190.     Mr. Lay responded in part, “I know they are also bringing it to pac [Pacific
                          10   Seafood] as well as hallmark (which is really one in the same). At the moment pac is still at
                          11   $2.50.” Mr. Lay further let him know that Ocean King and other SF buyers were willing to pay
                          12   $2.75/lb, but that some crabbers were demanding $3/lb.
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                          13           191.     Soon thereafter, Mr. Lay followed up with Mr. Bornstein to let him know that
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                          14   Pacific Seafood, in fact, was at $2.75/lb. as well, which Mr. Bornstein indicated was already
                          15   known by him. Mr. Bornstein then texted Mr. Lay to confirm that Bornstein was offering $2.75 as
                          16   well.
                          17           192.     For Pacific Seafood, this strategy made economic sense. Pacific Seafood knew that
                          18   crabbers wouldn’t accept such a low price. By refusing to move off its low price, Pacific Seafood
                          19   kept the fishery closed, allowing it to sell frozen crab from the prior season before during the
                          20   peak of consumer demand (the holiday season) without troublesome competition from far more
                          21   desirable fresh caught crab.
                          22           193.     For the other Defendants, it made no economic sense to toe Pacific Seafood’s line,
                          23   absent their overarching agreement to fix ex vessel prices. In December 2020, the wholesale price
                          24   of live Dungeness crab in the Pacific NW Area (i.e. the price that buyers sold to grocery stores,
                          25   restaurants, and the like) was approximately $11/lb.; and once the season finally opened, prices
                          26   stayed high, bouncing back to approximately $11/lb. in March 2021, and climbing to
                          27   approximately $13.50/lb. in May 2021.
                          28
                                                     AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                    31
                           1          194.    As a matter of comparison, the wholesale price of live Dungeness crab in the Pacific
                           2   NW Area, in both March and May of 2020, was approximately $7.70.
                           3                  3.      2021/22 Pacific NW Area Dungeness Crab Season
                           4          195.    During the 2019/20 season, Pacific Seafood punished Nor-Cal for its failure to
                           5   comply with Pacific Seafood’s opening price dictates, reneging on a previous agreement to
                           6   purchase a very large amount of crab from Nor-Cal, forcing it to sell the crab at a significant loss.
                           7          196.    Thus, at the start 2021/22 season, Nor-Cal, like other Defendants, got in line with
                           8   Pacific Seafood on opening price.
                           9          197.    Accordingly, in late November of 2021 in advance of the opening of the season, a
                          10   crabber texted Nor-Cal’s Kevin Lee in an attempt to negotiate a price with him, stating: “PAC
                          11   choice [Pacific Seafood]. 4.75. Nor cal 5 or better.”
                          12          198.    In response, Mr. Lee refused to engage, instead responding: “Hihi” “NorCal just a
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                          13   little boy . Ha ha.” “Will Matching the big boss.”
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                          14          199.    When the crabber responded, “If Frank [Dulcich] is big boss we have a problem,”
                          15   Mr. Lee responded, “Ha ha ha.”
                          16                  4.      2022/23 Pacific NW Area Dungeness Crab Season
                          17          200.    As one long-time crabber put it, at the beginning of the 2022/23 season, Pacific
                          18   Seafood and the other Defendants went into “full-on attack mode” to crush the price of
                          19   Dungeness crab, seeking to “drive the boot right in.”
                          20          201.    Prior to the opening of the 2022/23 season, Pacific Seafood, instead of stating a
                          21   low-ball ex vessel price, refused to state any price at all; and all the Defendants were similarly
                          22   mum.
                          23          202.    For many weeks in advance of the season, during the period in which buyers in
                          24   other years would be discussing the opening ex vessel prices with boats whose crabs they were
                          25   trying to secure, Pacific Seafood’s Joe Cincotta was in Eureka but refused to even discuss a price
                          26   with crabbers who tried, nor would any other crabber.
                          27          203.    And the same was true in other ports in the Pacific NW Area, neither Pacific
                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                    32
                           1   Seafood nor any other Defendant would even discuss an opening price. The other Defendants’
                           2   representatives, when asked by crabbers what opening price they were willing to pay, simply
                           3   demurred, saying that they would not state a price until Pacific Seafood did.
                           4          204.    Pacific Seafood, for its part, claimed that the reason it was not willing to state a
                           5   price was that there was no demand for live or fresh cooked crab. That was demonstrably false.
                           6          205.    In December of 2022, demand for live Dungeness crab was so high that Pacific
                           7   Seafood and other ex vessel buyers were selling live crab to their customers for approximately
                           8   $14/lb. And in Puget Sound—which because of significant tribal involvement and other factors
                           9   has not fallen within the ambit of Defendants’ conspiracy—crabbers were receiving as much as
                          10   $10.50/lb. ex vessel from buyers there.
                          11          206.    Indeed, in December of 2022, Fathom—which joined other Defendants in refusing
                          12   to offer an opening price to crabbers in the Pacific NW Area—purchased ex vessel from crabbers
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                          13   in Puget Sound almost 15,000 lbs. at $10/lb. and over 18,000 lbs. at $9.75.
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                          14          207.    Nonetheless, despite this high consumer demand and the significant profits that
                          15   they could earn if they had live or fresh cooked crab to sell, Defendants refused to offer a price,
                          16   with non-Pacific Seafood Defendants and other buyers stating that, while they wanted the crab,
                          17   they could not offer a price until Pacific Seafood offered one, which it refused to do.
                          18          208.     On or around December 23, 2022, the California Department of Fish and Wildlife
                          19   announced that the Dungeness crab season for California ports would open, on December 31,
                          20   2022, with crabbers allowed to set their traps on December 28, 2022. Nonetheless, neither Pacific
                          21   Seafood nor any other Defendant would even discuss an opening price.
                          22          209.    Having already missed Thanksgiving and Christmas and the time around it, when
                          23   domestic consumer demand for live and fresh cooked crab is at its highest, crabbers were
                          24   infuriated by the prospect that because Pacific Seafood and the other Defendants would not even
                          25   offer them a price for crab, the fleet would stay tied up, unable to catch and deliver crab to eager
                          26   consumers looking to celebrate the Western and Chinese New Year. Thus, the fleet in San
                          27   Francisco, and elsewhere in District 10, which includes the Bay Area, began discussing taking the
                          28   extraordinary step of going out on an “open ticket,” i.e., without any commitment from any buyer
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                      33
                           1   to take their crab at any price.
                           2           210.    On December 27, 2022, Pacific Seafood’s Joe Cincotta held a meeting with
                           3   crabbers in San Francisco at which it again declined to give a price for Dungeness crab, asking
                           4   them what they were hearing from the fleet. He was informed that Half Moon Bay and Bodega
                           5   Bay had decided to just go fishing on an open ticket.
                           6           211.    When Mr. Cincotta heard what the fleet was doing, his response was “You mean
                           7   to tell me that for the first time in the history of this fishery, in horrible weather, and with half the
                           8   gear, this fleet has decided to go fishing on an open ticket?”
                           9           212.    When the crabbers responded that they’d be going out as well, Mr. Cincotta said,
                          10   “We’ll do everything we can to try to help you out if we can sell them. It might only be a $1 or
                          11   something though.”
                          12           213.    Once the crabbers were out on the water, Nor-Cal very briefly offered boats $5/lb.,
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                          13   but instructed them to keep it secret. However, over the course of the day, Nor-Cal withdrew the
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                          14   offer and dropped the price it was offering to that being paid by other Defendants, claiming it was
                          15   because people had been too public about it—in other words, other cartel members had
                          16   discovered Nor-Cal was cheating on their price-fixing agreement and threatened Nor=Cal with
                          17   retaliation.
                          18           214.    Crabbers in ports north of Bodega Bay in the Pacific NW Area did not follow the
                          19   lead of their colleagues to the South. Rather, despite having been given the same green light to
                          20   fish by the state, they remained tied up for two weeks, while Pacific Seafood stated $2.25/lb. was
                          21   the maximum they’d pay. No other Defendant broke ranks.
                          22           215.    Nor-Cal’s Kevin Lee—who had very briefly paid crabbers $5/lb. at the opening of
                          23   the season in San Francisco before “too many people found out”—had clearly learned his lesson.
                          24           216.    On January 9, 2023, a crabber texted Mr. Lee, inquiring, “Any price offers for CC
                          25   [Crescent City]?”
                          26           217.    In response, Mr. Lee responded, “No idea yet. I’m waiting big boss give out
                          27   price.” To this the crabber responded, “I remember when you were big boss. Those were the
                          28   days.” Mr. Lee replied, “Ha ha ha.”
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                           34
                           1          218.    Three days later, on January 12, 2023, the crabber texted Mr. Lee again, asking,
                           2   “What are you offering. Really hard to do business like this.”
                           3          219.    In response, Mr. Lee said, “I know. I just matching what ever price.”
                           4          220.    Finally, on or around January 13, 2023, Pacific Seafood offered to pay $3.00/lb.
                           5   for the first 400,000 lbs. with the price then dropping to $2.25, giving the crabbers twelve hours
                           6   to accept the deal. Having now been waiting for months to go fishing, the deal was accepted.
                           7          221.    For context, twelve years before, at the opening the 2010/11 season in Northern
                           8   California, Pacific Seafood paid crabbers        ex vessel, without adjusting for inflation.
                           9          222.    And in January of 2023, while Pacific Seafood and the other Defendants were
                          10   insisting that crabbers in the northern portion of the Pacific NW Area accept Pacific Seafood’s
                          11   offer of $2.25/lb. ex vessel, buyers were selling live Dungeness crab caught elsewhere to their
                          12   customers for approximately $8/lb.; and crabbers in Puget Sound were getting as much as $7/lb.
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                          13   ex vessel. Fathom (who was part of the cartel refusing to offer Pacific NW Area crabbers more
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                          14   than $2.25/lb.) was, at the time, paying as much as        ex vessel in Puget Sound.
                          15                  5.      2023/24 Pacific NW Area Dungeness Crab Season
                          16          223.    In November of 2023, Safe Coast’s Max Boland sent a series of texts to
                          17   Confidential Buyer Informant #1—who, as discussed elsewhere herein, had run afoul of
                          18   Defendants during the 2022/23 season by not obeying their pricing dictates—informing
                          19   Confidential Buyer Informant #1 that Pacific Seafood would set the ex vessel price paid at the
                          20   opening of Pacific NW Area’s 2023/24 Dungeness crab season, and the price would likely be
                          21   between $1.85/lb. and $2.00/lb., but maybe as high as $2.25/lb.
                          22          224.    When Confidential Buyer Informant #1’s suggested to Mr. Boland that an ex
                          23   vessel price in the range of $3/lb. was justified, Mr. Boland stated: “3 does not work 1.85-2.00 is
                          24   the number and that is where PAC [Pacific Seafood] will be.”
                          25          225.    When Confidential Buyer Informant #1 protested that $1.85-$2/lb. was not high
                          26   enough to get most crabbers to go fishing, Mr. Boland replied: “PAC will make the decision.
                          27   Could be as high as 2.25.”
                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     35
                           1          226.    At around the same time in or around November 2023, Confidential Buyer
                           2   Informant #1 had a conversation with Caito’s John Caito. During that conversation, Mr. Caito
                           3   told Confidential Buyer Informant #1 that Caito would not set an opening ex vessel price until
                           4   Pacific Seafood did.
                           5          227.    And, in early to mid-December of 2023, in advance of the opening of any portion
                           6   of the Pacific NW Area’s Dungeness crab fishery, Pacific Seafood’s Brett Hester called
                           7   Confidential Buyer Informant #1 and told him that the opening ex vessel price was going to be
                           8   less than $2/lb.
                           9          228.    At approximately the same time, Confidential Buyer Informant #1 attended a
                          10   meeting that included representatives of Pacific Seafood (Dan Obrador and Mike Moody),
                          11   Bornstein (Mike Shirley), Fathom, Hallmark (Scott Adams) and Safe Coast. At that meeting,
                          12   Defendants’ representatives expressed a uniform position they did not want to offer crabbers
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                          13   more than $2.50/lb. as an opening ex vessel price.
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                          14          229.    During the meeting, Dan Obrador claimed that the reason the price needed to be
                          15   that low was that Pacific Seafood had one million pounds of frozen Dungeness crab in the
                          16   freezers, thus there was no demand and the ex vessel price had to be low. Bornstein’s Mike
                          17   Shirley and Hallmark’s Scott Adams concurred that they “need to keep the price down.”
                          18          230.    The same claim that it had one million pounds in the freezer and that there was no
                          19   demand for crab was also used by Pacific Seafood in its price negotiations with crabbers.
                          20   However, in fact, Safeway had already paid for the one million pounds, and was just keeping it in
                          21   Pacific Seafood’s freezer temporarily. Thus, while technically true that Pacific Seafood had one
                          22   million pounds in the freezer, that fact had no bearing on demand for crab, which, in fact, was
                          23   very high.
                          24          231.    Indeed, in mid-December 2023, buyers were getting $9-$10/lb. for live crab and
                          25   $19/lb. for whole cooked crabs from customers like Whole Foods, Safeway and Costco, and paying
                          26   crabbers in Puget Sound upwards of $7.75/lb. ex vessel.
                          27

                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                   36
                           1            C.     After the Opening, Defendants Closely Coordinate With One Another on Ex
                                               Vessel Prices
                           2
                                        232.   Defendants' price coordination isn’t limited to the opening of the season, rather it
                           3
                               continues as the season progresses.
                           4
                                        233.   As discussed elsewhere herein, prior to the formation of Defendants’ cartel, Nor-
                           5
                               Cal, ASE, Ocean King, and other live buyers would drive the price up as the season progressed,
                           6
                               in large part, by having refrigerated “white vans” drive to various ports and actively soliciting
                           7
                               crab from crabbers thereby offering higher ex vessel prices, which, in turn, forced other buyers in
                           8
                               the visited ports to increase their prices and more generally raising the ex vessel market price in
                           9
                               the Pacific NW Area.
                          10
                                        234.   That no longer occurs. Rather, now, Nor-Cal, ASE, Ocean King, and the other
                          11
                               Defendants, instead, share information and coordinate their price offers in order to minimize the
                          12
                               extent to which ex vessel prices rise as the season goes on.
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                                        235.   Texts between Ocean King’s George Lay and Bornstein’s Andrew Bornstein from
                          14
                               2021 demonstrates how this is done in real time.
                          15
                                        236.   On January 14, 2021, Mr. Lay texted Mr. Bornstein to let him know that some
                          16
                               buyers in San Francisco had raised their offered ex vessel prices to $3/lb., asking: “What are you
                          17
                               doing with your boats down there?”
                          18
                                        237.   When Mr. Borstein responded with non-price related information, Mr. Lay followed
                          19
                               up, “Will you be matching the price?” And Mr. Lay further told Mr. Bornstein that he was likely
                          20
                               to “get a call from Ben soon so I’d like to know what to tell him.”
                          21
                                        238.   Mr. Borstein then reply, “More than likely.” But he qualified that making clear that
                          22
                               he would not explicitly tell crabbers that Bornstein would match and would not pay more than
                          23
                               $5/lb.
                          24
                                        239.   To this, Mr. Lay responded, “Exactly. I agree. I haven’t said a word to my boats.
                          25
                               It’s unnecessary, they aren’t even close to filling up and won’t be coming in anyways. The guys in
                          26
                               Sf are off their rockers.”
                          27

                          28
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                                                                                                                                      37
                           1          240.    The next day, Mr. Lay followed up with Mr. Bornstein, “Well, it’s going crazy here.
                           2   $4/lb yesterday.”
                           3          241.    Moreover, as alleged in more detail infra, in many cases, Defendants won’t even
                           4   bother to directly purchase from crab ex vessel from crabbers, but, instead, will just purchase the
                           5   crab “out the backdoor” of one of their co-conspirators, eliminating the ex vessel price competition
                           6   that their independent ex vessel purchases would otherwise have created.
                           7          242.    Thus, for example, in February of 2022, a crabber who had sold to Kevin Lee of
                           8   Nor-Cal for many years texted to tell him that he had a load of about 7,000 lbs. Mr. Lee asked how
                           9   much the crabber wanted for the load and was told $7.00/lb. In response, Kevin Lee texted that
                          10   $6.00/lb. was the dock price, and then ceased communications, rather than negotiate with the
                          11   crabber as he would have done in the past. Later the crabber told his friend who operated the hoist
                          12   at the Lucas Wharf in Bodega Bay about this exchange with Kevin Lee. In response, his friend told
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                          13   him that the reason Mr. Lee felt no need to negotiate with the crabber as he had in the past was that
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                          14   he could buy all the crab he wanted out of the back door from Hallmark at the Tides in Bodega Bay
                          15   at or around the dock price.
                          16          D.      Defendants Have Consolidated Their Control of the Pacific NW Area Ex
                                              Vessel Dungeness Crab Market by Purchasing and in Many Cases Shutting
                          17
                                              Down Erstwhile Competitors, Entering Into Exclusivity Arrangements with
                          18                  Port Operators, and Limiting Non-Cartel Members’ Access to Hoists

                          19                  1.      Pacific Seafood

                          20          243.    In a process that began over 40 years ago, Pacific Seafood has acquired numerous

                          21   companies that formerly participated as buyers in the Pacific NW Dungeness crab ex vessel

                          22   market or the landing and/or processing assets of those companies, in many cases eliminating the

                          23   acquired landing and processing capacity.

                          24          244.    As a result, Pacific Seafood now is by far the largest ex vessel buyer in the Pacific

                          25   NW Area, there are fewer substantial ex vessel buyers in the Pacific NW Area, and fewer

                          26   independent hoists in Pacific NW Area ports that out-of-port or “white van” buyers can utilize to

                          27   purchase crab directly from crabbers, ex vessel.

                          28          245.    Its first acquisition was of Pacific Coast Seafood, in 1983, which operated a crab
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                      38
                           1   processing plant in Warrenton, Oregon.
                           2             246.   This was followed by its acquisition of Pacific Choice Seafood, in 1986, which
                           3   operated a crab processing plant in Eureka, California.
                           4             247.   This was followed by its acquisition of Pacific Choice Seafood, in 1990, which
                           5   operated a crab processing plant in Charleston, Oregon.
                           6             248.   Thereafter, Pacific Seafood acquired Washington Crab Processors, in 1993, which
                           7   operated a crab processing plant in Westport, Washington.
                           8             249.   Then, in 2001, Pacific Seafood acquired the processing and distribution assets of
                           9   Eureka in 2001. Eureka Fisheries operated processing plants from Fort Bragg, California to Neah
                          10   Bay, Washington, as well as important refrigeration plants, and hoists in Eureka, Bodega Bay,
                          11   and the East San Francisco Bay Area. Eureka Fisheries provided Dungeness crab processing and
                          12   hoist services to fish buyers in facilities throughout the Pacific NW Area. Pacific Seafood ended
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                          13   this practice and shut down many of the assets acquired from Eureka Fisheries, including the
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                          14   hoists.
                          15             250.   This was followed by a series of further acquisitions of erstwhile processing
                          16   competitors in the 2010s and 2020s.
                          17             251.   In the mid to late 2010s, Pacific Seafood took a 49% interest in Ocean Gold, and
                          18   entered into contracts with it that gave Pacific Seafood control over its ex vessel pricing and sell
                          19   side of its business
                          20             252.   Ocean Gold’s large processing facility, the largest on the west coast, and freezing
                          21   plant in Westport, Washington, has the capacity to store 20-25 million pounds of product at any
                          22   given time.
                          23             253.   Then, in 2018, Pacific Seafood purchased North Coast Fisheries, a company
                          24   formerly operating in Santa Rosa, California, which had substantial Dungeness crab processing
                          25   capacity and would frequently purchase crab from other buyers that it would then process and
                          26   freeze. Rather than continue to operate the business or incorporate the facilities into its own
                          27   business, however, Pacific Seafood shut down North Coast’s processing facilities and routed all
                          28   of North Coast’s former accounts through Pacific Seafood’s other processing facilities.
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                                                                                                                                      39
                           1          254.    Subsequently, in 2022, Pacific Seafood purchased Pezzolo’s Seafood, one of the
                           2   last remaining seafood processors that could handle Dungeness crab and had any appreciable
                           3   freezer capacity in San Francisco. Pezzolo Seafood, moreover, had the only significant processing
                           4   capacity (i.e., cooking) in Central California and would engage in contract processing for other
                           5   buyers and crabbers who, like Brand, also sell direct to consumer. This cooking capacity for
                           6   permitting and other reasons is very difficult for another company to establish. When Pacific
                           7   Seafood acquired Pezzolo Seafood, it did not shut down its processing capacity, but it ceased to
                           8   provide contract processing to other buyers.
                           9          255.    Pacific Seafood also currently leases a portion of a Fishermen’s Terminal facility,
                          10   a fish processing facility in Eureka which was funded by federal Economic Development Agency
                          11   grant money. Pacific Seafood attempted to buy the facility, despite the intended public use and
                          12   benefit, but the City of Eureka backed out after the public learned of the plan to sell a facility
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                          13   worth approximately $8 million to Pacific Seafood for $1.5 million.
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                          14          256.    Pacific Seafood does not use the Fishermen’s Terminal facility to process crab or
                          15   other seafood and does not permit others to use the processing facilities. Instead, Pacific Seafood
                          16   uses it for storage related to Coast Seafoods, an oyster and shellfish business owned by Pacific
                          17   Seafood.
                          18          2.      Ilwaco Landing Fishermen
                          19          257.    Ilwaco Landing Fishermen was founded by Mike Shirley and Scott Kastengren in
                          20   2015 and operated as a seafood buyer and distributor with bases of operation in Garibaldi, Oregon
                          21   and Ilwaco, Washington. In 2017, Ilwaco Landing Fishermen merged with Fishpeople Seafood,
                          22   and the new entity continued to purchase ex vessel Dungeness crab under the Fishpeople Seafood
                          23   name and operate its existing facilities, including the processing warehouse in Ilwaco Landing.
                          24   Fishpeople Seafoods was acquired by Bornstein Seafoods Inc. on or around February 25, 2022.
                          25          258.    Prior to the acquisition by Bornstein, Mike Shirley, running operations at
                          26   Fishpeople, made a significant purchase of ex vessel crab and processed it in hopes of selling it to
                          27   retail accounts for a substantial profit. Mr. Shirley was unable to sell the crab, because the
                          28   accounts he’d planned to sell to were approached by Bornstein Seafoods and Pacific Seafood,
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     40
                           1   who undercut Mr. Shirley’s prices. Unable to sell all the crab, for which a significant financial
                           2   outlay had been made, Mr. Shirely was forced to sell the crab at a loss, to Hallmark Fisheries. The
                           3   loss incurred by Fishpeople, and Mr. Shirley personally, precipitated the sale to Bornstein.
                           4           259.    Shortly after Bornstein acquired Fishpeople, including the facility on Ilwaco
                           5   Landing and the associated pier and hoist, Mike Shirley went to work as Manager for Bornstein in
                           6   Ilwaco, a position he still occupies.
                           7           260.    After Bornstein’s acquisition of Fishpeople and its facilities in Ilwaco, Bornstein
                           8   and Safe Coast are now the only entities with a presence in Ilwaco.
                           9           3.      Trinidad
                          10           261.    The dock and hoist in Trinidad, California are operated by the Trinidad Rancheria.
                          11   The Rancheria controls which buyer can take the crab unloaded in Trinidad. Ocean Gold and
                          12   Nor-Cal Seafood have an agreement with the Rancheria whereby they are the only buyers that can
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                          13   unload any significant amount, and they get to set the ex vessel price of crab unloaded there.
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                          14   Ocean Gold pays the tribe approximately $1 million each season for this exclusivity agreement.
                          15   During the 2022/23 season, as part of its deal where it paid the Rancheria $1 million, Ocean Gold
                          16   set the ex vessel price at $2.25/lb.
                          17           262.    Confidential Buyer Informant #1 has been prevented from unloading crab in
                          18   Trinidad, for which he would pay above what Ocean Gold and Nor-Cal offer, during recent
                          19   seasons because of the agreement that Ocean Gold and Nor-Cal have with the Rancheria.
                          20           263.    Pursuant to the exclusivity agreement with the Rancheria, Ocean Gold buys nearly
                          21   all of the ex vessel crab in the early part of the season, and once it is done, or if it is unable to take
                          22   available crab, Kevin Lee of Nor-Cal comes in to take the remaining crab. During the relevant
                          23   period, over       of the crab in Trinidad was landed by Ocean Gold and Nor-Cal in each year
                          24   except in the 2020/21 season, when they combined to land             of the total volume.
                          25           264.    Prior to Ocean Gold being the sole early-season buyer, Hallmark Fisheries had
                          26   exclusive access to crab landed in Trinidad, with Nor-Cal playing the same secondary role it
                          27   plays currently with Ocean Gold.
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                        41
                           1           4.      Eureka
                           2           265.    In Eureka, California, prior to approximately 2016, the public hoist was run by
                           3   Humboldt Seafood Unloaders (“HSU”). HSU’s owner, Manuel Silveira, was aggressive in
                           4   bringing in multiple live buyers from outside Eureka, including Nor-Cal Seafood, ASE, Next
                           5   Seafood (managed at that time by Peter Nguyen, who is the current buyer for and owner of
                           6   Fishermen’s Catch) and Ocean King, among others, to buy from Eureka crabbers. Mr. Silveira
                           7   would coordinate the buyers’ arrival in port with the return of crabbers with loads of crab. Mr.
                           8   Silveira would charge a poundage fee, a price per pound he unloaded with the hoist, for crab
                           9   landed in Eureka. A standard practice among hoist operators.
                          10           266.    In or around 2016, the City of Eureka terminated HSU’s lease and pushed them
                          11   out of the main harbor area to a distant and dilapidated dock, a move that was orchestrated by
                          12   Pacific Seafood and Bill Carvalho, who ran Wild Planet Seafood, which, along with Pacific
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                          13   Seafood, already had a presence in Eureka. Wild Planet leased the hoist from the City after HSU
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                          14   was moved out.
                          15           267.    Wild Planet Seafood sold its Dungeness crab business to South Bend Products in
                          16   early 2020, and thereafter South Bend took over the lease of the hoist and related facilities on the
                          17   dock. South Bend has since limited the buyers it unloads crab for, charging prohibitively
                          18   expensive unloading fees to non-favored buyers.
                          19           268.    South Bend leases a portion of the Fishermen’s Terminal facility, but – like the
                          20   facility’s other tenant, Pacific Seafood – South Bend does not use the processing capacity, instead
                          21   using the facility for storage.
                          22           269.    In addition to the public hoist in Eureka, there's a private hoist in Fields Landing,
                          23   in the southern portion of Humboldt Bay, that Ocean Gold controls, and is the only buyer allowed
                          24   to unload crab there.
                          25           E.      To Eliminate Price Pressure Formerly Created by Out of Port Buyers,
                                               Defendants Have Agreed to Buy and Sell “Out the Back Door”
                          26
                                       270.    While Defendants were limiting the amount and type of buyers that could access a
                          27
                               given port by dominating key infrastructure, such as hoists, Defendants agreed that, instead of
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                       42
                           1   traveling up to ports where they did not have a presence and driving ex vessel prices up by
                           2   purchasing crab directly from crabbers there, they would, instead, simply buy “out of the back
                           3   door” from other cartel member buyers with a presence in the port.
                           4          271.    As discussed elsewhere herein, before implementation of this part of Defendants’
                           5   agreement, white van buyers, such as Nor-Cal, Ocean King, and ASE, played a significant role in
                           6   driving up the market price for Dungeness crab. The agreement amongst Defendants to instead
                           7   buy and sell from each other “out the back door” has eliminated this price pressure by allowing
                           8   former white van buyers to fill their supply needs without having to compete with their cartel co-
                           9   members on ex vessel prices.
                          10          1.      South Bend
                          11          272.    In or around February of 2020, South Bend Products acquired Wild Planet
                          12   Seafood’s Dungeness crab business and took over Wild Planet’s lease of the public hoist in
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                          13   Eureka, California. As the City of Eureka’s “Designated Public seafood Unloader” South Bend
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                          14   Products controls operation of the only hoist in Eureka. South Bend has infrastructure in place at
                          15   the hoist to unload crab for both the live market and processing.
                          16          273.    South Bend lands significant amounts of crab in Eureka, landing over         of the
                          17   port’s total volume during the 2024 season. South Bend does not keep the crab it lands for itself,
                          18   rather South Bend sells it all directly to other buyers “out the back door.” Other buyers, primarily
                          19   Nor-Cal and ASE, provide South Bend with their own totes prior to the crab being landed,
                          20   whereafter the crab is loaded directly into those totes and loaded into a waiting Nor-Cal or ASE
                          21   truck. Prior to 2020, both Nor-Cal and ASE regularly landed crab under their own names in
                          22   Eureka. But after 2020 those landings ceased except for a small handful of low-volume Nor-Cal
                          23   landings in June and July of 2023. If South Bend does not sell its landed crab to Nor-Cal or ASE,
                          24   it sells to Southern California Seafood or Ocean King.
                          25          2.      Caito
                          26          274.    Caito Fisheries purchased significant amounts of ex vessel crab, buying under
                          27   Caito Fisheries Inc., from crabbers in San Francisco, Fort Bragg, Eureka, and Crescent City for at
                          28   least the last 25 years. Caito Fisheries was acquired by Southwind Foods in the Spring of 2023.
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                      43
                           1   Caito Fisheries has continued to buy ex vessel crab, as Caito Fisheries LLC, since its acquisition
                           2   by Southwind.
                           3          275.     Caito Fisheries landed approximately             pounds of crab in Eureka (          of
                           4   the port’s total landings) and          pounds of crab in San Francisco (          of the port’s total
                           5   landings) in 2024. The crab landed by Caito in Eureka and San Francisco amounts to
                           6   approximately        of the total crab Caito Fisheries landed in California in 2024. Caito sold a
                           7   significant portion of this crab “out the back door” to Ocean Gold, instead of processing it and
                           8   selling it to any of its retail accounts. In both ports, Caito Fisheries was observed on multiple
                           9   occasions landing crab and loading it into Ocean Gold totes which were then put on Ocean Gold’s
                          10   trucks and transported out of the landing port.
                          11          276.     On or about August 7, 2024, John Caito contacted Confidential Buyer Informant
                          12   #1 and told him that Caito Fisheries, and by extension Southwind, had an agreement with Pacific
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                          13   Seafood whereby Ocean Gold would receive a significant portion of the Dungeness crab that
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                          14   Caito Fisheries lands in California in the upcoming seasons, just as in 2024. In exchange for Caito
                          15   Fisheries securing increased volumes of ex vessel crab for Ocean Gold, Pacific Seafood would
                          16   give Caito Fisheries increased control over the California groundfish market, via near-exclusive
                          17   access to the volume that Pacific Seafood now controls. Specifically, Pacific Seafood agreed to
                          18   direct the fishers currently selling groundfish to Pacific Seafood to sell their fish to Caito.
                          19          3.       San Francisco
                          20          277.     Unnamed Co-conspirator #1 purchases a large portion of the total amount of crab
                          21   landed in San Francisco and transfers almost all of it out the back door to Peter Nguyen, who
                          22   currently owns and runs Fishermen’s Catch, but who formerly bought for Global Quality and
                          23   before that was with Next Seafood.
                          24          278.     Indeed, Mr. Nguyen dictates the ex vessel price that Unnamed Co-conspirator #1
                          25   pays to crabbers, including Plaintiff Little—with Unnamed Co-conspirator #1’s representative
                          26   literally telling Mr. Little and other crabbers that he’d like to pay them more, but Mr. Nguyen has
                          27   directed him to pay a lesser amount, which he does.
                          28
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                                                                                                                                        44
                           1           4.     Crescent City
                           2           279.   There are 12 hoists in Crescent City, and each is effectively controlled by cartel
                           3   members who coordinate to control the ex vessel price that is paid for any crab unloaded in the
                           4   port.
                           5           280.   Global Quality controls 2 hoists, Safe Coast controls 2 hoists, Fishermen’s Catch
                           6   controls 2 hoists, Pacific Seafood controls 2 hoists, Caito controls 2 hoists, and LCZ Unloaders
                           7   controls two hoists, with on that exclusively serving Nor-Cal and one exclusively serving ASE.
                           8           281.   In February of 2023, which was early in the season following a delayed opening,
                           9   Confidential Buyer Informant #1 made arrangements with numerous boats in Crescent City,
                          10   California to purchase ex vessel crab for $2.45/lb. The buyers that were already present and active
                          11   in Crescent City – Global Quality, Fishermen’s Catch, Safe Coast, Pacific Seafood, Nor-Cal,
                          12   ASE, and Caito – all told Confidential Buyer Informant #1 their agreed ex vessel price in
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                          13   Crescent City was $2.25/lb., and told Confidential Buyer Informant #1 to stay away.
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                          14           282.   Wes Taylor, who runs the LCZ Unloaders hoists for Nor-Cal and ASE, and Leon
                          15   Gavin, who runs the Fishermen’s Catch hoists, told Confidential Buyer Informant #1 that the
                          16   group of buyers didn’t want him to come in with a higher price, and therefore they would charge
                          17   him an exorbitant unloading fee if he offered to pay crabbers anything more than the $2.25/lb ex
                          18   vessel price that the cartel had set. This effectively prevented Confidential Buyer Informant #1
                          19   from buying crab in Crescent City for an ex vessel price that was higher than what the cartel
                          20   members there had agreed to pay; exactly the result those cartel members desired.
                          21           F.     Defendants Aggressively Coerce Compliance by Each Other by and by Other
                                              Buyers with the Agreed Upon Pricing
                          22

                          23                  1.     During the 2022/23 and 2023/24 Seasons, a New Buyer Sought to
                                                     Capture Market Share by Offering Higher Prices; Defendants Sought
                          24                         to Bring Him into the Cartel and When This Failed Inflicted Repeated
                                                     Punishments
                          25
                                       283.   In the 2022/23 and 2023/24 seasons, when, as one crabber put it, Defendants were
                          26
                               seeking to “drive the boot right in,” a new significant buyer, Confidential Buyer Informant #1,
                          27
                               sought to make inroads into the Pacific NW Area Dungeness crab ex vessel market. And he did
                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                   45
                           1   so by offering higher ex vessel prices to crabbers. Confidential Buyer Informant #1’s reasoning
                           2   was simple: if he offered a higher price, he got the crab.
                           3          284.    Defendants greeted his arrival first with efforts to bring him into their cartel. When
                           4   that failed, Defendants threatened him. And when that failed, Defendants took actions aimed at
                           5   destroying his fish-buying business.
                           6                          a.      January 2023: Nor-Cal’s Kevin Lee and Pacific Seafood’s
                                                              Frank Dulcich Solicited Confidential Buyer Informant #1 to
                           7                                  Participate in Cartel, Then Punished him When He Refused
                           8          285.    On or around January 13, 2023, Confidential Buyer Informant #1 was called by
                           9   Frank Dulcich of Pacific Seafood and Kevin Lee of Nor-Cal, and told that if he agreed to only
                          10   pay an ex vessel price of $2.25/lb to crabbers in the various ports in Oregon and California he
                          11   serviced, Nor-Cal would buy all of Confidential Buyer Informant #1's excess crab at $3/lb.
                          12          286.    After the call, Kevin Lee texted Confidential Buyer Informant #1 to relay a threat
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                          13   from Frank Dulcich: small buyers come and go, and that it's easy for a buyer like Pacific
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                          14   Seafood to take a loss of $1 million to teach a guy a lesson. After Confidential Buyer Informant
                          15   #1 refused the offer, a large number of Confidential Buyer Informant #1's retail accounts in the
                          16   San Francisco Bay Area that had pre-ordered crab pulled out of their agreements to buy from
                          17   him after Nor-Cal sold them crab at less than $2/lb.
                          18          287.    During the period in which this occurred, Nor-Cal was paying at least          ex
                          19   vessel for Dungeness crab; more than a dollar less than what Nor-Cal charged Confidential
                          20   Buyer Informant #1’s retail accounts.
                          21          288.    These retail accounts that were sold Dungeness crab by Nor-Cal at $2/lb included
                          22   at least the following: Lucky's Seafood Market; California Fish Market SF; Seafood Center SF;
                          23   Fresh Meat Seafood SF; Liangs Seafood; Long Ling Supermarket Oakland; New Century
                          24   Seafood Market; and San Bruno Market.
                          25          289.    Around the same time in January of 2023, Nor-Cal’s Kevin Lee called
                          26   Confidential Buyer Informant #1’s uncle, who had long been involved in the commercial fishing
                          27   industry, hoping to get him to convince Confidential Buyer Informant #1 to drop the ex vessel
                          28   price he was offering. Kevin Lee told Confidential Buyer Informant #1’s uncle that it was too
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                   46
                           1   early in the season for such high prices, and that Confidential Buyer Informant #1 was screwing
                           2   things up for Nor-Cal and the other cartel members.
                           3                           b.     In Early 2023, Safe Coast’s Max Boland Tried to Get
                                                              Confidential Buyer Informant to Toe the Cartel’s Line on Ex
                           4                                  Vessel Prices Set by Pacific Seafood
                           5             290.   In early 2023, Max Boland of Safe Coast told Confidential Buyer Informant #1 that
                           6   Safe Coast won’t pay an ex vessel price for Dungeness crab higher than what Pacific Seafood’s
                           7   Frank Dulcich wants paid.
                           8             291.   Once Boland found out Confidential Buyer Informant #1 was paying crabbers more
                           9   than the ex vessel price that Pacific Seafood had set, Boland called Confidential Buyer Informant
                          10   #1 and warned him that Confidential Buyer Informant #1 wouldn’t be able to offer those prices in
                          11   Crescent City because the port was “locked down” by people working with Pacific Seafood.
                          12                           c.     February/March 2023: In Response to Confidential Buyer
                                                              Informant #1’s Publicized Offer of a Higher Ex Vessel Price,
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                          13                                  Multiple Cartel Members Told Confidential Buyer Informant
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                                                              #1 to Lower His Ex Vessel Price
                          14

                          15             292.   In and around February/March of 2023, Confidential Buyer Informant #1 posted in
                          16   a Facebook group frequented by crabbers and buyers in the Pacific NW Area that he was paying
                          17   between $3.00 and $3.50 per pound ex vessel for Dungeness crab.
                          18             293.   In response, Scott Adams of Hallmark Fisheries called and told him to stop offering
                          19   $3 to $3.50 per pound ex vessel for Dungeness crab—which was substantially above the ex vessel
                          20   price of around $2.50/lb. that Hallmark, Pacific Seafood and others were offering—and drop his
                          21   price.
                          22             294.   Pacific Seafoods’ Brett Hester, Nor-Cal’s Kevin Lee, also called him and told him
                          23   to stop offering $3 to $3.50 and drop his price.
                          24                           d.     April/May 2023: More Cartel Members Tell Confidential Buyer
                                                              Informant to Lower His Ex Vessel Price
                          25
                                         295.   In the period of April/May 2023, Confidential Fish Buyer #1 was paying $4/lb. ex
                          26
                               vessel.
                          27

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                                                     AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                  47
                           1          296.    In response to the problems this created for the cartel, the following representatives
                           2   of Defendants called and told Confidential Fish Buyer that he was screwing things up for everyone
                           3   else and needed to lower the ex vessel price he was offering: Max Boland of Safe Coast, John Caito
                           4   of Caito, Nick Mareno of Fathom Seafood, and Brett Hester of Pacific Seafood.
                           5                          e.      July/August 2023: Pacific Seafood Interfere in Confidential
                                                              Informant’s Effort to Establish a Buyer Operation in Eureka
                           6
                                      297.    In and around July and August of 2023, Pacific Seafood intervened in Confidential
                           7
                               Buyer Informant #1's efforts to secure a lease on facilities on the Eureka, CA waterfront in
                           8
                               retaliation for his failure to obey the cartel’s ex vessel pricing dictates and to hinder his ability to
                           9
                               offer higher ex vessel prices to crabbers.
                          10
                                      298.    This included aggressive petitioning of city staff by Pacific Seafood’s legal team to
                          11
                               deny or limit the lease sought by Confidential Buyer Informant #1.
                          12
                                      299.    As a result of this pressure, the terms of Confidential Buyer Informant #1's lease
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                               agreement for the facility he took on in the summer of 2023 limited his use of the public hoist in
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                          14
                               Eureka from 9 am-4 pm. Due to the nature of the fishery, this is untenable, as crabbers come in at
                          15
                               all hours, and can't wait around.
                          16
                                      300.    Simultaneously with this pressure, Pacific Seafood employees spread unfounded
                          17
                               rumors about Confidential Buyer Informant #1 to area crabbers in order to dissuade them from
                          18
                               doing business with him. This includes one instance in which a Pacific Seafood employee
                          19
                               confronted Confidential Buyer Informant #1 in front of Eureka-area crabbers and falsely claimed
                          20
                               that Confidential Buyer Informant #1 lacked the right to use the premises in Eureka to which
                          21
                               Confidential Buyer Informant #1 holds a lease and that Confidential Buyer Informant #1was
                          22
                               homeless.
                          23
                                                      f.      August 2023: Bornstein’s Andrew Bornstein and Mike Shirley
                          24                                  Offer Confidential Buyer Informant Significant Benefits if He
                                                              Joins the Cartel in the up Coming Season
                          25
                                      301.    On or around August 8-11, 2023, Confidential Buyer Informant #1 received a call
                          26
                               from Mike Shirley and Andrew Bornstein of Bornstein Seafood and several follow-up texts. These
                          27
                               Bornstein representatives offered to buy from Confidential Buyer Informant #1 300,000 – 400,000
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                      48
                           1   pounds of albacore at $2500/ton ($500 over the market at that time) and as much black cod as
                           2   Confidential Buyer Informant #1 had (knowing that Confidential Buyer Informant #1 was getting
                           3   large quantities of black cod from fishers), in exchange for Confidential Buyer Informant #1 getting
                           4   crabbers to accept a lower price for crab during the first 28 days of the 2023/24 season, which they
                           5   referred to euphemistically as a “cooked price.”
                           6          302.    This constituted a request by these representatives of Bornstein that Confidential
                           7   Buyer Informant not offer a price above that offered by the cartel during the first 28 days of the
                           8   2023/24 season, which is how Confidential Buyer Informant #1 understood the request.
                           9          303.    After Confidential Buyer Informant #1 refused, Bornstein took actions to punish
                          10   him for his refusal.
                          11                            g.     Early/Mid-December 2023: Pacific Seafood’s Brett Hester
                                                               Threatened Confidential Buyer Informant #1 After He Did Not
                          12                                   Comply With Pacific Seafood’s Opening Price Instruction
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                          13          304.    As discussed elsewhere herein, in early to mid-December of 2023, Pacific Seafood’s
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                          14   Brett Hester called Confidential Buyer Informant #1 and told him that the opening ex vessel price
                          15   for the 20223/24 season was going to be less than $2/lb.
                          16          305.    Instead of complying with that dictate, soon after the first portion of the Pacific NW
                          17   Area’s Dungeness crab fishery opened for the season, Confidential Buyer Informant #1 posted to a
                          18   Facebook group frequented by buyers and crabbers in the Pacific NW Area that he was paying
                          19   $3.75/lb. for crab ex vessel, which was substantially above what Pacific Seafood and other
                          20   Defendants were paying.
                          21          306.    In response, Mr. Hester sent Confidential Buyer Informant #1 a series of texts that
                          22   started with a picture of Confidential Informant #1’s post advertising the $3.75 ex vessel price offer,
                          23   followed by “Damnit man,” a picture of Confidential Buyer Informant #1’s facility in Eureka, and
                          24   a series of emojis that suggested a threat of violence.
                          25

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                                                     h.     Late December 2023: Nor-Cal’s Kevin Lee Again Sought to
                          24                                Bring Confidential Buyer Informant #1 into the Cartel

                          25          307.   On or around December 25, 2023, Kevin Lee of Nor-Cal Seafoods called
                          26   Confidential Buyer Informant #1. Confidential Buyer Informant #1 was in his car with three of his
                          27

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                                                  AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   employees and his brother when the call came in; and he took the call on the car’s speaker phone,
                           2   resulting in these persons hearing the contents of the call.
                           3          308.    Kevin Lee asked Confidential Buyer Informant #1 to “participate,” by bringing
                           4   down the ex vessel price he was paying. At this point, Confidential Buyer Informant #1 had already
                           5   purchased approximately one million pounds for $3.75 - $4.00 per pound.
                           6          309.    Mr. Lee, more specifically, told Confidential Buyer Informant #1 to keep the price
                           7   the same as Nor-Cal’s, and that they could help each other out in this and other ways, like making
                           8   sure the other always has the crab or fish he needs.
                           9          310.    Mr. Lee further told Confidential Buyer Informant #1 that Hallmark was doing the
                          10   same with Nor-Cal, matching ex vessel prices and taking care of each other.
                          11                          i.      December 2023/January 2024: Pacific Seafood Instructs Other
                                                              Defendants Not to Do Business With Confidential Buyer
                          12                                  Informant #1
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                          13          311.    In and around the end of December 2023 and the beginning of January 2024,
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                          14   Confidential Buyer Informant #1 was buying large quantities of Dungeness crab at ex vessel prices
                          15   higher than that dictated by the cartel.
                          16          312.    Around the same time, representatives of Fisherman’s Catch, Hallmark, and Global
                          17   Quality Seafood, to whom Confidential Buyer Informant #1 was selling crab, told Confidential
                          18   Buyer Informant #1 that they were getting calls from high-level individuals at Pacific Seafood,
                          19   including Frank Dulcich, asking them not to do business with Confidential Buyer Informant #1.
                          20          313.    At or around the time of these calls, Confidential Buyer Informant #1 was informed
                          21   that Caito, who prior to the season’s opening had agreed to purchase a very large amount of crab
                          22   from Confidential Buyer Informant #1, had reneged on the deal. Instead, Caito had purchased the
                          23   crab from Hallmark. Previously, Hallmark employees had sought from Confidential Buyer
                          24   Informant #1 information about where he was selling all his crab.
                          25

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                                                                                                                                51
                           1                          j.     Early-January 2024: Confidential Buyer Informant #1 Is
                                                             Threatened by Cartel Members for Raising Ex Vessel Prices
                           2                                 and Has Business Deals Interfered With as Punishment
                           3
                                      314.    On or around January 3, 2024, Max Boland of Safe Coast drove to Port Charleston,
                           4
                               where Confidential Buyer Informant #1 was purchasing crab, to meet with him.
                           5
                                      315.    In the meeting, Mr. Boland told Confidential Buyer Informant #1, in the presence
                           6
                               of Confidential Buyer Informant #1’s employees and brother, that Frank Dulcich had called Mr.
                           7
                               Boland asking why Confidential Buyer Informant #1 was raising the price, and stating that
                           8
                               “[Confidential Buyer Informant #1] is going to end up in trouble.”
                           9
                                      316.    Mr. Boland also told Confidential Buyer Informant #1 that Pacific Seafood, Ocean
                          10
                               Gold, and Hallmark were angry about the higher ex vessel price Confidential Buyer Informant #1
                          11
                               was paying crabbers.
                          12
                                      317.    Around this same time, Confidential Buyer Informant #1 got a call from Nick
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                          13
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                               Mareno of Fathom Seafood. In the call, Mr. Mareno pushed Confidential Buyer Informant #1 to
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                          14
                               tell him to whom Confidential Buyer Informant #1 was selling crab and for how much. Confidential
                          15
                               Buyer Informant #1 refused to share this information. Mr. Mareno then told Confidential Buyer
                          16
                               Informant #1 that if he didn’t bring his ex vessel prices down, there would be “repercussions.”
                          17
                                      318.    Soon after this call, Mr. Mareno called Global Quality, Fisherman’s Catch, and Safe
                          18
                               Coast in an effort to get them to stop buying from Confidential Buyer Informant #1 so that
                          19
                               Confidential Buyer Information #1 would not have anywhere to sell his crab and would be forced
                          20
                               out of the market, thus eliminating the pressure Confidential Buyer Informant #1 was putting on
                          21
                               the artificially low ex vessel price agreed upon by Defendants.
                          22
                                      319.    Soon after the call from Mr. Mareno, Confidential Buyer Informant #1 learned that
                          23
                               Caito Fisheries, who had agreed to buy a large quantity of crab from Confidential Buyer Informant
                          24
                               #1, had instead bought that crab from Ocean Gold.
                          25

                          26

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                           1                           k.     January 2024: Defendants Take a Series of Actions in
                                                              Charleston, OR to Punish Buyer Informant #1 and Drive Him
                           2                                  Out of Port
                           3          320.    At around the same time in early January 2024, Pacific Seafood and Fathom

                           4   pressured the Charleston, Oregon harbormaster, Ray Dyer, to deny Confidential Buyer Informant

                           5   #1 use of the public hoist.

                           6          321.    Nick Mareno of Fathom falsely told Mr. Dyer that the crabbers didn't want

                           7   Confidential Buyer Informant #1 in the port, when in reality Confidential Buyer Informant #1's

                           8   efforts to buy more crab at higher prices were creating significant benefits to the crabbers.

                           9          322.    Ultimately, as a result of Mr. Mareno’s pressure, the public hoist was shut down for

                          10   48 hours.

                          11          323.    At the time the hoist was shut down, two boats waiting to be unloaded had 130,000

                          12   lbs. of crab to sell to Confidential Buyer Informant #1. These boats had previously only sold to
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                          13   Pacific Seafood, but because Confidential Buyer Informant #1 was offering a far better price, they
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                          14   decided to instead sell to Confidential Buyer Informant #1.

                          15          324.    However, because Confidential Buyer Informant #1 couldn't unload the crab, and

                          16   the crabbers had nowhere else to turn, Pacific Seafood bought the crab for less than what

                          17   Confidential Buyer Informant #1 had agreed to pay the two boats, using its private hoist at the port

                          18   to unload the crab.

                          19          325.    In addition to these two large boats that Confidential Buyer Informant #1 was denied

                          20   from unloading, there were 5-6 smaller boats ready to sell approximately 100,000 lbs. total to

                          21   Confidential Buyer Informant #1. When Confidential Buyer Informant #1 was shut out of the hoist,

                          22   those crabbers were forced to sell to Fathom and Hallmark for substantially less per pound than

                          23   what Confidential Buyer Informant #1 was offering.

                          24          326.    In addition to the longtime Pacific Seafood boats that were about to sell to him in

                          25   Charleston, about 50% of Newport boats were ready to work with Confidential Buyer Informant

                          26   #1. In order to stymie that trend, Pacific Seafood started reaching out to Confidential Buyer

                          27   Informant #1's live customers and telling them that Pacific Seafood would service them by setting

                          28   up live stations everywhere.
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                           1          327.    Following the closure of the public hoist, there was an uproar from crabbers who
                           2   wanted to sell their crab to Confidential Buyer Informant #1, as well as engagement by state elected
                           3   officials and the Oregon Dungeness Crab Commission. Harbormaster Dyer ultimately relented,
                           4   reopened the public hoist, and allowed Confidential Buyer Informant #1 access approximately 48
                           5   hours after he had shut it down.
                           6          328.    However, once reopened, Confidential Buyer Informant #1 was only able to use the
                           7   public hoist if he paid, in addition to the hourly rate of $27, a per pound surcharge of $0.10 for all
                           8   crab he off-loaded (which was reduced to $0.09 after more protest from crabbers), make a $2,000
                           9   deposit and pay $120 per month for a business license. Confidential Buyer Informant #1 is unaware
                          10   of any other buyers being required to pay these fees to use the public hoist.
                          11          329.    Once the public hoist was reopened and Confidential Buyer Informant #1 and his
                          12   crew were again unloading crab, the public hoist was tampered with. Potentially serious injury, or
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                          13   death, was only avoided because Confidential Buyer Informant #1 and his crew saw the issue and
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                          14   stopped the hoist before it began the next loading process. In addition to the tampering with the
                          15   hoist, the brake lines of the old forklift that Confidential Buyer Informant #1 had to use were
                          16   tampered with, making the use of the already sub-par forklift even more unsafe and inefficient.
                          17   Earlier, Confidential Buyer Informant #1 had arranged to use a nearly new forklift but was
                          18   prevented from doing so, without explanation, by Harbormaster Dyer.
                          19          330.    Once Confidential Buyer Informant #1 was able to get live crab off boats and was
                          20   loading it into trucks, Oregon state police showed up and blocked access to the parking lot where
                          21   Confidential Buyer Informant #1's trucks were parked, awaiting live crab, blocking their ability to
                          22   depart despite not issuing any citation or providing any reason for their actions. As a result,
                          23   Confidential Buyer Informant #1 lost 4,000 lbs. of crab that died on the dock because they couldn't
                          24   be loaded on the trucks in time.
                          25          331.    Nick Mareno of Fathom, who Confidential Buyer Informant #1 understands is close
                          26   to Oregon state police, was seen in his car making a phone call shortly before the police showed
                          27   up.
                          28
                                                   AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1          332.    Soon thereafter, on January 5, 2024, nails were placed under the tires of a truck
                           2   holding crab belonging to Confidential Buyer Informant #1 and one of his customers parked in
                           3   Charleston. The nails caused the tires of the truck to flatten, which in turn caused a delay that
                           4   resulted in the loss of approximately 2,000 lbs. of live crab.
                           5          333.    These various actions prevented Confidential Buyer Informant #1 from making ex
                           6   vessel purchases at a higher price, while simultaneously resulting in sales to Defendants at lower
                           7   ex vessel prices. It also resulted in Confidential Buyer Informant #1 terminating his buying in
                           8   Charleston on or around January 6, 2024, leaving crabbers there to sell principally to Hallmark,
                           9   Pacific Seafood, and Fathom, with Fathom, in particular, purchasing a large volume of crab ex
                          10   vessel after Confidential Buyer Informant #1 left Charleston at a lower price than that which
                          11   Confidential Buyer Informant #1 had been paying crabbers.
                          12                          l.      Mid/Late-January 2024: Representatives of Defendants and
                                                              Other Co-Conspirators Met at San Francisco’s Pier 45 and
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                          13                                  Devised a Plan to Run Confidential Buyer Informant #1 Out of
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                                                              Business
                          14
                                      334.    On and around January 20, 2024, Max Boland of Safe Coast, Tony of Global
                          15
                               Quality, Peter Nguyen of Fishermen’s Catch, Frank Dulcich of Pacific Seafood, Mr. Bugatto of
                          16
                               Hallmark, and representatives of Unnamed Co-conspirators #1 and #2 met at Pier 45 in San
                          17
                               Francisco.
                          18
                                      335.    After the meeting, Max Boland told Confidential Buyer Informant #1 that the group
                          19
                               was upset with Confidential Buyer Informant #1 for broadcasting to crabbers a higher opening price
                          20
                               than what Pacific Seafood and the other big buyers wanted, and that there would be repercussions.
                          21
                                      336.    Following the January 20, 2024 meeting, Defendants who were at the meeting all
                          22
                               took actions to undercut Confidential Buyer Informant #1’s accounts, reneged on agreements to
                          23
                               buy crab from Confidential Buyer Informant #1, and stopped paying Confidential Buyer Informant
                          24
                               #1 for crab he had already delivered to them.
                          25
                                      337.    Specifically, Confidential Buyer Informant #1 had already made ex vessel purchases
                          26
                               of over 75,000 lbs. of crab at $3.75/lb. that Global Quality had agreed to buy from him for around
                          27
                               $4.00/lb. After the January 20th Pier 45 meeting, however, Global Quality reneged on the deal,
                          28
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                           1   pursuant to the agreement among the other buyers to punish Confidential Buyer Informant #1 for
                           2   raising the price earlier in the season. This resulted in Confidential Buyer Informant #1 having to
                           3   sell the crab at a loss to Ocean Gold and Safe Coast, for $3.00/lb., $.75 less than what Confidential
                           4   Informant Buyer #1 had paid ex vessel for the crab.
                           5          338.    Global Quality additionally owes Confidential Buyer Informant #1 approximately
                           6   $200,000 and has refused to engage with Confidential Buyer Informant #1 or return his calls since
                           7   the January 20th meeting.
                           8          339.    Fisherman’s Catch similarly owes Confidential Buyer Informant #1 approximately
                           9   $100,000 and, since the January 20th meeting, is not responding to Confidential Buyer Informant
                          10   #1’s attempts to collect.
                          11          340.    Safe Coast also owes Confidential Buyer Informant #1 approximately $20,000 as
                          12   the result of underpayments. Specifically, Safe Coast has refused to pay the prices it has previously
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                          13   negotiated with Confidential Buyer Informant #1, only paying the ex vessel price that Confidential
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                          14   Buyer Informant #1 paid ex vessel to crabbers for the crab, and not the amount stated on the bill of
                          15   lading when Confidential Buyer Informant #1 delivers the crab to it.
                          16          341.    Since the January 20th meeting, Safe Coast’s Mr. Boland has also required that
                          17   Confidential Buyer Informant #1 meet him in an ally when selling Safe Coast crab, so that no one
                          18   would see him buying from Confidential Buyer Informant #1, which would get Safe Coast in
                          19   trouble with other members of the cartel.
                          20          342.    More generally, after the January 20th meeting, Pacific Seafood and Ocean Gold
                          21   broadcast to other buyers that they would take everyone’s crab, as long as no one sold to or bought
                          22   from Confidential Buyer Informant #1.
                          23          343.    Subsequently, Southern California Seafood, previously one of Confidential Buyer
                          24   Informant #1’s biggest customers, told Confidential Buyer Informant #1 that it would be working
                          25   exclusively with Pacific Seafood from here on out.
                          26

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                                                                                                                                   56
                           1                  2.      Other Buyers Have Also Been Threatened by Defendants About
                                                      Breaking Ranks on Price and Have Been Punished for Doing So
                           2
                                                      a.      Early-January 2023: Nor-Cal and Unnamed Co-conspirator #1
                           3                                  Dropped the Ex Vessel Prices They Were Offering After Being
                                                              Warned By Defendants to Toe the Line
                           4
                                      344.    As discussed elsewhere herein, when crabbers went out in District 10 on an open
                           5
                               ticket, Nor-Cal, after briefly offering $5/lb., withdrew the offer after it was threatened by
                           6
                               Defendants for doing so, a threat whose effectiveness was clearly increased by the punishment
                           7
                               that Pacific Seafood had previously meted out on Nor-Cal, as discussed elsewhere herein.
                           8
                                      345.    Unnamed Co-conspirator #1’s principal representative was delivered a similar
                           9
                               threat by Pacific Seafood’s Joe Cincotta. In January of 2023, Unnamed Co-conspirator #1’s ex
                          10
                               vessel price was higher than that being paid by Pacific Seafood. To correct this, Pacific Seafood’s
                          11
                               Joe Cincotta paid Unnamed Co-conspirator #1’s principal representative a visit and pointedly told
                          12
                               him Pacific Seafood was only paying $2.25 ex vessel. He got the message and Unnamed Co-
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                               conspirator #1 lowered the price it was offering as well.
                          14
                                                      b.      Mid-January 2023: Pacific Seafood Flooded the Sell-Side
                          15                                  Markets of Non-Compliant Buyers with Cheap Crabs
                          16          346.    Once Defendants successfully brought ex vessel prices down to $2.25/lb. in the
                          17   Pacific NW Area in mid-January 2023—an ex vessel price barely seen in California for over a
                          18   decade—Pacific Seafood made sure that buyers in Central California who had not complied with
                          19   Defendants’ “no price” and then later “$2.25/lb.” dictates were punished for their lack of
                          20   compliance.
                          21          347.    Pacific Seafood shipped at least six truckloads, approximately 200,000 lbs. of fresh,
                          22   whole cooked crab from points north, and sold them to central California buyers’ customers at a
                          23   price of $3.99 to $4.50/lb. This price was not only way below what buyers had been selling to those
                          24   customers, but it was substantially below these buyers’ costs for fresh, whole cooked crab when
                          25   the substantial weight loss associated with processing and the cost of processing are factored in.
                          26

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                           1          348.    Pacific Seafood also sold large volumes of live crab into the Chinese market for
                           2   $4.50, free on board. This was, again, not only way below the price at which other buyers were
                           3   selling live crab into the Chinese market, but also significantly below their costs.
                           4                          c.      Late-December 2023: Pacific Seafood Sent Buyers, Including
                                                              Non-Cartel Members, a Warning About Paying Over the Ex
                           5                                  Vessel Price Set By It
                           6          349.    On or around December 25, 2023, when Nor-Cal’s Kevin Lee sought to convince
                           7   Confidential Buyer Informant #1 to toe the line on the ex vessel price set by the cartel, Pacific
                           8   Seafood sent an email to a number of buyers, including Anna Svedise of Anna’s Seafood,
                           9   instructing them to keep the ex vessel price at or below $3/lb.
                          10          350.    The email to Ms. Svedise warned her, in a threatening manner, not to continue her
                          11   practice of paying ~$.50 over the “dock price” (i.e., the price set by Pacific Seafood and other cartel
                          12   members). As a result, Anna’s Seafood, unlike previous seasons, didn’t come up to Eureka a single
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                          13   time; and crabbers from Eureka who in past seasons had regularly sold to Anna’s Seafood, sold to
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                          14   cartel members, including South Bend, for the artificially low price of $2.25-2.50/lb.
                          15                          d.      Pacific Seafood Uses Its Dominance in Other Areas of Seafood
                                                              to Enforce Compliance with the Cartel’s Dungeness Crab
                          16                                  Pricing Dictates
                          17          351.    Pacific Seafood also punishes non-compliant crab buyers on the sell-side by denying
                          18   non-compliant crab buyers access to other fish products whose supply Pacific Seafood controls.
                          19          352.     As a result of Pacific Seafood’s self-vaunted vertically integrated dominance of the
                          20   West Coast's supply of fish products, it is for many other types of fish and fish products effectively
                          21   the only source. And most Dungeness crab buyers do not limit themselves to Dungeness crab, but
                          22   rather sell to their customers a wide range of fish, many types of which they do not directly purchase
                          23   ex vessel from fishers, but rather from other suppliers, often Pacific Seafood. Thus, other fish
                          24   buyers are dependent on Pacific Seafood for such products and related lines of business. And if
                          25   those buyers do not toe the line with regards to ex vessel pricing of Dungeness crab, Pacific Seafood
                          26   can and will deny them access to such products in retaliation.
                          27

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                           1                   3.      As a Result, When Defendants and Other Buyers Pay Ex Vessel Prices
                                                       Above the “Fixed Price” They Seek to Hide that Fact, Which Doesn’t
                           2                           Make Economic Sense Absent a Price-Fixing Agreement
                           3           353.    Absent the market manipulation alleged herein, buyers would be in competition with
                           4   each other for available crab. Thus, basic economic logic would dictate that, if a buyer had sell-
                           5   side demand that justified offering a higher price, he or she would widely publicize his or her offer
                           6   to pay a higher ex vessel price to crabbers to lure more crabbers to sell to him or her. Economic
                           7   logic would also predict that the increased sell-side demand created by such publication of his or
                           8   her offer to pay more would, in turn, allow the buyer to ultimately lower his or her offered price,
                           9   increasing his or her profits.
                          10           354.    This is especially the case in a situation such as that presented by buyers in the
                          11   Pacific NW Area Dungeness crab market where, like the product that crabbers are selling to them
                          12   (freshly caught Dungeness crab), there is no meaningful difference between buyers beyond price.
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                          13   As the saying goes, all money is green.
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                          14           355.    Accordingly, critical to Confidential Buyer Informant #1’s strategy to capture
                          15   market share in the Pacific NW Area has been to widely broadcast his willingness to pay higher ex
                          16   vessel prices for crab than Defendant cartel members.
                          17           356.    Defendants, on the other hand, do the exact opposite: they actively hide when they
                          18   pay crabbers ex vessel prices that are higher than the price fixed by the cartel.
                          19           357.    While this does not make basic economic sense in a free market, it makes complete
                          20   sense in the context of a price-fixing cartel. In a price-fixing cartel, there is always a strong incentive
                          21   by cartel members to cheat, so as to both gain the benefit of the artificially depressed price created
                          22   by the cartel but also to gain some advantage on their fellow cartel members. As another saying
                          23   goes, there is no honor amongst thieves. And for this reason, as alleged elsewhere herein,
                          24   Defendants aggressively seek to police compliance with their agreed-upon pricing and to punish
                          25   non-compliance.
                          26           358.    This dynamic has resulted in Defendants commonly hiding instances where they
                          27   have paid ex vessel prices in violation of the price set by the cartel.
                          28
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                           1             359.   The most simplistic tactic that Defendants use to hide their cheating is to simply put
                           2   a lower price on the official landing record of a sale than what they pay the crabber, generally
                           3   splitting the payment into two checks: one for the lower price on the landing record, and one for
                           4   the amount above this.
                           5             360.   Nor-Cal commonly uses this tactic to hide its cheating on the fixed ex vessel price.
                           6             361.   For example, on February 11, 2021, a crabber texted Nor-Cal’s Kevin Lee, “Hi
                           7   Kevin, [Redacted] said that you would pay $5.00 plus $1.00 bonus per pound. When he unloaded
                           8   Larry wrote $5.00 plus .50 bonus. Just making sure that it was supposed to be total of $6.00 per
                           9   pound. Thanks, [Redacted].”
                          10             362.   In response, Mr. Lee responded, “Yes . I changed here.”
                          11             363.   California Department of Fish and Wildlife landing records show that Nor-Cal
                          12   entered          as the purchase price for the referenced transaction on February 10, 2021.
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                          13             364.   ASE also has, for many years, paid crabbers in a similar way: one check for the price
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                          14   on the official landing receipt, and one check for an additional amount.
                          15             365.   Ocean Gold is also known to enter lower ex vessel prices on landing receipts than
                          16   what was actually paid to the crabber.
                          17             366.   Confidential Buyer Informant #1 was recently told by an Ocean Gold worker that
                          18   Ocean Gold was entering prices on landing receipts that were $1/lb. less than what was paid, which
                          19   made the worker nervous he would get in trouble for doing so.
                          20             367.   Another tactic to hide cheating is to pay crabbers a “bonus” later in or at the end of
                          21   the season, which is also sometimes referred to as a “retro.”
                          22             368.   Pacific Seafood, which paid Plaintiff Little such a “bonus” when he was crabbing
                          23   for them, and Hallmark are among the Defendants who frequently use this tactic.
                          24             369.   In a text exchange between Fathom’s Nick Mareno and Bornstein’s Andrew
                          25   Bornstein from January 1, 2020, Mr. Mareno expressed his concern that Pacific Seafood was going
                          26   to cheat on the agreed-upon cartel opening price of $3.00/lb., by making (and promising) a
                          27   retroactive payment of an additional $.25/lb.
                          28
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                           1          370.    Mr. Mareno stated, “I got 30k-$40k coming into crescent [city] tomorrow… Just
                           2   worried about Pacific retro.” “Retro to $3.25.”
                           3          371.    In response, Mr. Bornstein said, “Always a risk.”
                           4          372.    An additional tactic used by Defendants to hide their cheating on the fixed ex vessel
                           5   price is to pay the crabbers the fixed ex vessel price, but then give bait at no charge, which would
                           6   otherwise cost the crabber a substantial amount.
                           7          373.    Thus, in a text message between Mr. Lee and a crabber last season, Mr. Lee indicated
                           8   that he was willing to pay more than the fixed ex vessel price but could not pay it directly for fear
                           9   it would be discovered; thus, he offered instead to give the crabber bait of an equivalent value.
                          10          374.    Defendants also frequently will publicly say that they are paying one ex vessel price
                          11   but, in fact, pay more.
                          12          375.    Buyers will also simply refuse to put in writing or publicly state the ex vessel price
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                          13   they are offering, so as to avoid discovery of their cheating on the agreement to fix prices.
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                          14          376.     Thus, for example, when Plaintiff Little texted the principal representative of
                          15   Unnamed Co-conspirator #2, during the 2023/24 season to ask what price Unnamed Co-
                          16   conspirator #2 would pay for a load of crab that Mr. Little was looking to sell, the principal
                          17   representative of Unnamed Co-conspirator #2 responded, “Bring them over.”
                          18          377.    Mr. Little responded, “lol. Is that the only way to find out?”
                          19          378.    To this, the principal representative of Unnamed Co-conspirator #2 responded with
                          20   a laughing face emoji.
                          21          G.      In Order to Defend Their Cartel Pricing, Defendants Threaten and Punish
                                              Crabbers who Sell Crab Ex Vessel for Prices Higher than the Cartel Price
                          22
                                      379.    In response to this sort of price cheating by their fellow cartel members and to
                          23
                               prevent non-cartel members from disrupting their agreement to fix ex vessel prices at an artificially
                          24
                               low level, Defendants punish crabbers who sell to other buyers by refusing to purchase crab and
                          25
                               other fish from such “disloyal” crabbers.
                          26

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                           1          380.    This tactic has the additional salutatory effect for Defendants of assisting them in
                           2   maintaining their share of the ex vessel market without the need to raise ex vessel prices to a level
                           3   disallowed by the cartel.
                           4          381.    In a competitive market, Defendants would have to use the carrot of higher ex vessel
                           5   prices to maintain market share—as the “service” they perform for crabbers (buying their crab) is
                           6   fundamentally fungible because, again, all money is green. Basic economic logic predicts that, if
                           7   Defendants competed with each other, they would end up in a “race to the top,” offering higher and
                           8   higher ex vessel prices in competition with one another, and squeezing their profit margins
                           9   (essentially the inverse of the “race-to-the-bottom” problem that often leads sellers of commodity
                          10   products to enter into price-fixing arrangements).
                          11          382.    By agreeing to fix prices at an artificially low level, Defendants have fixed this
                          12   “race-to-the-top” problem and protected their profit margin, but they have lost the carrot that could
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                          13   otherwise be used to ensure that they have Dungeness crab to sell as a profit. In reaction, they have
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                          14   replaced this carrot with a stick, punishing disloyal crabbers who stray from them.
                          15                  1.      Pacific Seafood
                          16          383.    As discussed elsewhere herein, the season for Dungeness crab in the Pacific NW
                          17   Area is only open for certain months of the year, which is the case with many other fisheries, as
                          18   well. As a result, commercial fishers generally maintain a portfolio of different fisheries in order to
                          19   allow them to generate income throughout the year. When fishers discuss selling any of their
                          20   product to Pacific Seafood, they are told that, if they want Pacific Seafood to buy one of their
                          21   species, they are going to have to sell all of their species to Pacific Seafood. For some fishers—
                          22   particularly those who harvest coldwater shrimp, the Pacific NW Area ex vessel market for which
                          23   Pacific Seafood entirely controls—the risk of not complying with this requirement can be
                          24   existential, as there are essentially no other purchasers for this species in the Pacific NW Area.
                          25   Thus, if a fisher wants to sell his or her coldwater shrimp at all, they need to agree to sell their
                          26   Dungeness crab to Pacific Seafood exclusively.
                          27

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                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     62
                           1           384.    Pacific Seafood uses the power this gives them over crabbers to prevent those who
                           2   have agreed to sell it crab at the artificially low price set by the cartel from going to a non-cartel
                           3   member (or cheating cartel member) who is offering a higher price and to make an example of
                           4   those crabbers that violate this dictate.
                           5           385.    In a January 4, 2020 text to Fathom’s Nick Mareno, Bornstein’s Andrew Bornstein
                           6   described how Pacific Seafood used this technique to make an example out of two crabbers who
                           7   sold to non-cartel members (or cheating cartel members) who were paying more than the $3/lb. that
                           8   the cartel had fixed as the opening price for the 2019/20 Pacific NW Area Dungeness crab season.
                           9   He said, “Pacific [Seafood] Newport had 2 boats sell to a live guy in Newport today at 3.50 and
                          10   they were just notified that they lost their bottom fish and shrimp markets and don’t call for bait.
                          11   Pacific is playing hardball at 3.00.”
                          12           386.    Pacific Seafood will, moreover, initiate boycotts of non-compliant crabbers by other
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                          13   cartel members, effectively blackballing those crabbers in retaliation for having sold to a non-
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                          14   compliant buyer at a higher price or refusing to accept the cartel price.
                          15           387.    As discussed elsewhere herein, when Pacific Seafood’s Joe Cincotta told San
                          16   Francisco crabbers who agreed to sell to Pacific Seafood in the 2022/23 season that Pacific Seafood
                          17   would try to help them out by paying maybe $1/lb., Plaintiff Little reacted in anger telling him, in
                          18   part, that Pacific Seafood should “take their thumb off” the market “and let it play its course.” Mr.
                          19   Cincotta replied that “our boats don’t talk bad about us,” and in retaliation Pacific Seafood made
                          20   clear that it would not purchase crab (or anything else) from Plaintiff Little and instructed other
                          21   fish buyers not to purchase crab from him either.
                          22                   2.      Hallmark
                          23           388.    Hallmark and Nor-Cal have for several years been the dominant buyers of
                          24   Dungeness crab landed in Port Orford, Oregon, purchasing, on average approximately 93% of the
                          25   Dungeness crab landed there during the period from 2016 to present. Hallmark, moreover, is
                          26   virtually the only buyer of black cod in the port.
                          27

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                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1           389.   Hallmark uses the leverage this creates over crabbers in Port Orford to pressure them
                           2   to exclusively sell Dungeness crab to it and to punish crabbers who sell to non-cartel members (and
                           3   cheating cartel members) who offer higher ex vessel prices.
                           4           390.   During the 2021/22 Dungeness crab season, a long-time Port Orford crabber and
                           5   black cod fisher, having learned that a non-Defendant buyer, in Charleston, Oregon was paying
                           6   substantially more than Hallmark and Nor-Cal were paying in Port Orford and motored the
                           7   approximately 60 nautical miles there to sell his crab to that buyer.
                           8           391.   Later, in advance of the 2022/23 Dungeness crab season, the crabber spoke by phone
                           9   with Crystal Adams of Hallmark, who expressed her anger at him for having sold the non-
                          10   Defendant buyer the previous season and told him that he either had to sell everything to Hallmark
                          11   or Hallmark would buy nothing from him, which was particularly problematic on the black cod
                          12   side.
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                          13           392.   Then, at the beginning of the 2022/23 season, Hallmark and Nor Cal were only
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                          14   offering the cartel price of $2/lb. ex vessel in Port Orford and kept their prices artificially low for
                          15   the season.
                          16           393.   In contrast, Confidential Buyer Informant #1 was publicly advertising on a
                          17   Facebook group frequented by crabbers and buyers that he was offering substantially more, and so
                          18   the crabber sold a significant amount of crab to him, instead of Hallmark or Nor-Cal.
                          19           394.   When Hallmark found out, the crabber was told by Chrystal Adams that because of
                          20   his disloyalty Hallmark would not purchase anything from him, including black cod.
                          21           395.   At the beginning of the 2023/24 season, Hallmark sought to apply this strategy more
                          22   broadly when Confidential Buyer Informant #1 came to Port Orford and started paying crabbers
                          23   substantially more than the cartel-set ex vessel price being offered by Hallmark and Nor-Cal.
                          24           396.   In response, Hallmark threatened crabbers that if they sold to Confidential Buyer
                          25   Informant #1, Hallmark wouldn’t buy any crab from them and that Confidential Buyer Informant
                          26   #1 wouldn’t be able to buy all of their crab, leaving them nowhere to sell it. When this threat did
                          27   not successfully discourage crabbers from taking the higher ex vessel price being offered by
                          28
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     64
                           1   Confidential Informant #1, Hallmark shut the doors of its Port Orford facility from 12/21 to 1/7,
                           2   during a period of traditionally high demand and landings in the fishery.
                           3                  3.      Ocean Gold
                           4          397.    Ocean Gold applied the same strategy when crabbers in Charleston, Oregon began
                           5   taking up Confidential Buyer Informant #1 on his offer of higher ex vessel prices.
                           6          398.    It told all the crabbers that if they didn’t stop buying from Confidential Buyer
                           7   Informant #1, they’d close their doors, and crabbers would be left without a market because
                           8   Confidential Buyer Informant #1 wouldn't be able to buy all their crab. When this threat didn’t
                           9   work, on December 23, 2023, Ocean Gold stopped purchasing crab in Charleston, Oregon, and did
                          10   not restart purchasing crab there during the rest of the season.
                          11   III.   Buyers Who Are Not Part of the Cartel, Nonetheless, Generally Obey Its Pricing
                                      Dictates in Order to Avoid Retaliatory Actions by Defendants
                          12
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                          13          399.    The measures described herein that Defendants take to enforce compliance with
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                          14   their pricing dictates amongst themselves are also applied against non-cartel members, as the

                          15   experience of Confidential Buyer Informant makes clear.

                          16          400.    Moreover, most other buyers buy a far smaller quantity of Dungeness crab in the

                          17   Pacific NW Area ex vessel than Defendants.

                          18          401.    As a result, these buyers are particularly vulnerable to actions like selling below-

                          19   cost crab to their customers and the other retaliatory actions by Defendants described herein.

                          20          402.    Thus, the overwhelming bulk of these buyers keep their heads down and toe the line

                          21   on ex vessel prices set by Pacific Seafood and its co-defendants.

                          22                                         ANTITRUST INJURY

                          23          403.    During the Class Period, Defendants’ anticompetitive conduct had the following

                          24   effects, among others, throughout the Pacific NW Area:

                          25                  a. competition has been restrained or eliminated with respect to ex vessel prices

                          26                       paid to crabbers for Dungeness crab;

                          27                  b. crabbers have been deprived the benefits of free and open competition for the

                          28                       purchase of their product;
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                 65
                           1                    c. ex vessel prices paid for Dungeness crab in the Pacific NW Area have been
                           2                        fixed, lowered, stabilized, or maintained at artificially depressed levels; and
                           3                    d. commercial crabbers were paid artificially depressed ex vessel prices for their
                           4                        sales of Dungeness crab.
                           5           404.     The purpose and effect of this anticompetitive course of conduct was to exclude
                           6   competition and to lower, fix, or maintain the purchase price for ex vessel Dungeness crab
                           7   throughout the Pacific NW Area. As a direct and foreseeable result, during the Class Period,
                           8   Plaintiffs and the proposed Class were paid lower prices for the Dungeness crab they sold ex vessel
                           9   than they would have been paid in an unrestrained market.
                          10           405.     As noted above, ex vessel sales of Dungeness crab in Puget Sound have been largely
                          11   unaffected by Defendants’ conspiracy because that geographic area is dominated not by Defendants
                          12   but by tribal nation market participants. As the table and graph below demonstrate, contrary to what
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                          13   would be expected if the Pacific NW Area were an unmanipulated market free from anticompetitive
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                          14   restraints, the divergence in prices between those paid in the Pacific NW Area and those paid in
                          15   Puget Sound widens during the conspiracy period—i.e., beginning with the 2015/2016 season.
                          16                         Price Difference Between Ex Vessel Dungeness Crab Prices
                          17                               Paid in Pacific NW Area vs. Puget Sound ($/lb)

                          18                                      Pacific NW Area          Puget Sound          Difference   % Difference
                                Pre-Conspiracy Period                   $2.86                 $3.72               $0.87        30.3%
                          19    (2010-2015)*
                          20    Post-Conspiracy Period                   $3.63                 $5.01               $1.38        38.1%
                                (2016-2024)*
                          21
                               *Year is defined as November of previous year through October to account for crab seasons.
                          22

                          23

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                                                      AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                            66
                           1                           Average Inflation-Adjusted Price for Ex-Vessel Dungeness Crab -
                                                                         Pacific NW vs. Puget Sound
                           2
                                       8.0
                           3
                                       7.0
                           4
                                       6.0
                           5

                           6           5.0

                           7
                                $/lb




                                       4.0                                                                                                             Pacific NW
                           8                                                                                                                           Puget Sound
                                       3.0
                                                                                                                                                       Linear (Pacific NW)
                           9                                                                                                                           Linear (Puget Sound)
                                       2.0
                          10
                                       1.0
                          11

                          12           0.0
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                                              Source: Fish Ticket Data from California, Oregon, Washington States' Departments of Fish and Wildlife;
                          14                                               CPI Series Federal Reserve Bank of St. Louis


                          15

                          16                 406.     The artificial suppression of ex vessel Dungeness crab prices in the Pacific NW Area
                          17   affected not only sales made to Defendants but also those sales made to non-conspiring ex vessel
                          18   purchasers. This is because non-conspiring ex vessel purchasers are disincentivized from offering
                          19   higher prices for Dungeness crab under cover of Defendants’ fixed, artificially depressed prices.
                          20   As a result, all sellers of ex vessel Dungeness crab in the Pacific NW Area—whether the transaction
                          21   involves Defendants or non-Defendant purchasers—suffered harm during the Class Period.
                          22                 407.     By reason of the antitrust violations alleged herein, Plaintiffs and the proposed Class
                          23   have sustained injury to their businesses or property, and as a result have suffered damages. Such
                          24   injuries, which result from the price effects caused by Defendants’ conduct, are precisely the type
                          25   that the antitrust laws were intended to forestall.
                          26

                          27

                          28
                                                              AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                                                              67
                           1                                   CLASS ACTION ALLEGATIONS
                           2          408.    Plaintiffs bring this action under Federal Rules of Civil Procedure 23(a) and
                           3   23(b)(1), (b)(2), and (b)(3) on behalf of themselves and as representatives of a class of other
                           4   commercial crabbers (the “Sherman Act Class”) defined as follows:
                           5          Commercial crabbers who, during the Class Period, sold ex vessel Dungeness crab
                                      they caught off the coast of, or landed in, California, Oregon, and/or Washington
                           6
                                      seeking damages and injunctive relief for violations of § 1 of the Sherman Act.
                           7          409.    Plaintiffs bring this action on behalf of himself and as a representative of a class of
                           8   crabbers under Federal Rules of Civil Procedure 23(a) and 23(b)(1), (b)(2), and (b)(3) (the
                           9   “California Class”) defined as follows:
                          10
                                      Commercial crabbers who, during the Class Period, sold ex vessel Dungeness crab
                          11          they caught off the coast of, and/or landed in, California seeking damages and
                                      injunctive relief for violations of California state law.
                          12
                                      410.    Excluded from the proposed Classes are Defendants, their parent companies,
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                          13
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                               subsidiaries and affiliates, officers, executives, and employees; Defendants’ attorneys in this case,
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                          14
                               federal government entities and instrumentalities, states or their subdivisions, and all judges and
                          15
                               jurors assigned to this case.
                          16
                                      411.    The members of the proposed Classes are so numerous and geographically dispersed
                          17
                               that joinder of all members is impracticable. Moreover, given the costs of complex antitrust
                          18
                               litigation, it would be uneconomical for many plaintiffs to join their individual claims.
                          19
                                      412.    Plaintiffs’ claims are typical of the members of the proposed Classes. Plaintiffs and
                          20
                               all members of the proposed Classes were injured by the same wrongful conduct by Defendants.
                          21
                               Defendants’ anticompetitive conduct deprived Plaintiffs and the members of the proposed Classes
                          22
                               of the benefits of competition that would have raised ex vessel prices for Dungeness crab. Although
                          23
                               the precise number of such individuals is unknown to Plaintiffs, Plaintiffs believe that the number
                          24
                               of members in the proposed Classes is, at minimum, in the thousands, and that the members reside
                          25
                               or are located throughout Oregon, Washington, and California, including in this District.
                          26

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                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                    68
                           1          413.    Plaintiffs will fairly and adequately protect and represent the interests of the
                           2   proposed Classes. The interests of Plaintiffs are aligned with, and not antagonistic to, those of the
                           3   other proposed Class members.
                           4          414.    The Sherman Act Class. Common questions of law and fact exist as to all members
                           5   of the Sherman Act Class. Defendants’ anticompetitive activities commonly implicated and were
                           6   generally applicable to all the members of the Class, thereby making class-wide adjudication and
                           7   relief appropriate. Such questions of law and fact common to the Sherman Act Class include, but
                           8   are not limited to:
                           9                  a. whether Defendants and their co-conspirators engaged in a combination or
                          10                         conspiracy to fix, lower, maintain, or stabilize the ex vessel price of Dungeness
                          11                         crab in the Pacific NW Area;
                          12                  b. the duration of the combination or conspiracy alleged herein, and the acts
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                          13                         performed by Defendants and their co-conspirators in furtherance thereof;
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                          14                  c. whether such combination or conspiracy violated Section 1 of the Sherman Act;
                          15                  d. whether the conduct of Defendants and their co-conspirators, as alleged herein,
                          16                         caused injury to Plaintiffs and other members of the Sherman Act Class;
                          17                  e. whether Defendants caused Plaintiffs and the members of the Sherman Act Class
                          18                         to suffer damages in the form of lower prices received in connection with the ex
                          19                         vessel sale of their Dungeness crab to Defendants, their co-conspirators, and
                          20                         other ex vessel buyers;
                          21                  f. the effect of Defendants’ combination or conspiracy on ex vessel Dungeness
                          22                         crab prices in the Pacific NW Area;
                          23                  g. the appropriate measure of class-wide damages for the Sherman Act Class; and
                          24                  h. the propriety of declaratory and injunctive relief.
                          25          415.    The California Class. Common questions of law and fact also exist as to all
                          26   members of the California Class. Defendants’ anticompetitive activities commonly implicated and
                          27   were generally applicable to all the California Class members, thereby making class-wide
                          28
                                                      AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     69
                           1   adjudication and relief appropriate. Such questions of law and fact common to the California Class
                           2   include, but are not limited to:
                           3                  a. whether Defendants have illegally combined to fix and suppress the ex vessel
                           4                      price for Dungeness crab in California and to control when the season for
                           5                      Dungeness crab opens in violation of the California Cartwright Act;
                           6                  b. whether Defendants coerced other Dungeness crab buyers to combine in this
                           7                      way;
                           8                  c. whether the means employed by Defendants to coerce that combination included
                           9                      implicitly and explicitly threatening or retaliating against non-compliant buyers;
                          10                  d. whether the foregoing and other conduct by Defendants violates the California
                          11                      Cartwright Act and/or the California Unfair Competition Law;
                          12                  e. whether Defendants’ actions alleged herein caused injury to Plaintiffs and the
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                          13                      California Class members by causing them to receive artificially depressed ex
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                          14                      vessel prices for Dungeness crab during the Class Period;
                          15                  f. the appropriate measure of damages; and
                          16                  g. the propriety of declaratory and injunctive relief.
                          17          416.    Plaintiffs are more than adequate representatives of the Sherman Act and California
                          18   Classes, and their chosen class counsel (the undersigned) are more than adequate attorneys.
                          19   Plaintiffs have the incentive, and are committed, to prosecuting this action for the benefit of the
                          20   proposed Classes. Plaintiffs have no interests that are antagonistic to those of the proposed Classes.
                          21   Plaintiffs have retained counsel highly experienced in antitrust and class action litigation.
                          22          417.    Class action treatment is a superior method for the fair and efficient adjudication of
                          23   the controversy. Such treatment will permit a large number of similarly situated persons to
                          24   prosecute their common claims in a single forum simultaneously, efficiently, and without the
                          25   unnecessary duplication of evidence, effort, or expense that numerous individual actions would
                          26   engender. The benefits of proceeding through the class mechanism, including providing injured
                          27   persons or entities a method for obtaining redress on claims that could not practicably be pursued
                          28   individually, substantially outweigh potential difficulties in the management of this class action.
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     70
                           1          418.    Plaintiffs know of no difficulty to be encountered in the maintenance of this action
                           2   that would preclude its maintenance as a class action.
                           3                   DELAYED DISCOVERY/FRAUDULENT CONCEALMENT
                           4          419.    Throughout the relevant period, Defendants affirmatively and fraudulently
                           5   concealed their unlawful conduct from Plaintiffs and other Class Members.
                           6          420.    Plaintiffs and other Class Members did not discover, and could not have
                           7   discovered through the exercise of reasonable diligence, that Defendants were engaging in the
                           8   illegal and unlawful conduct as alleged herein until shortly before this litigation was commenced.
                           9   Specifically, Plaintiffs only discovered the identity of the presently identifiable participants in
                          10   Defendants’ scheme to fix prices, from which all of Plaintiffs’ and other Class Members' claims
                          11   derive, when information was provided by Confidential Buyer Informant #1 after the filing of the
                          12   instant action and documents were produced by certain Defendants.
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                          13          421.    Nor could Plaintiffs and other Class Members, in the exercise of reasonable
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                          14   diligence, have discovered the violations earlier than that time because Defendants secretly
                          15   engaged in their wrongdoing, concealing the nature of their unlawful conduct and acts in
                          16   furtherance thereof, and fraudulently concealed their activities through various other means and
                          17   methods designed to avoid detection.
                          18          422.    For example, Defendants substantially memorialized their agreements concerning
                          19   pricing orally and via text messages sent and received on the personal devices of Defendants’
                          20   employees, principals, and owners. Furthermore, these discussions were held in private in order to
                          21   prevent discovery of the conspiracy by members of the class. And Defendants have, by and large,
                          22   aggressively resisted Plaintiffs’ efforts to gain access to records of these discussions through
                          23   discovery in this litigation, including, in the case of Nor-Cal, simply ignoring a subpoena issued
                          24   by Plaintiff Little for the communications and an order by this Court ordering its compliance.
                          25          423.    Furthermore, Defendants affirmatively sought to mislead Plaintiffs and other Class
                          26   Members into believing that there was price competition between them and, by extension, to hide
                          27   the existence of the conspiracy from Plaintiffs and other Class Members, and provided false
                          28   explanations to Class Members for their actions, including without limitation that the ex vessel
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
                                                                                                                                     71
                           1   prices for Dungeness crab offered by them in the Pacific NW Area were the result of external
                           2   market conditions and that they allowed Pacific Seafood to set the opening price for the
                           3   Dungeness crab season for factors unrelated to their conspiracy and agreement.
                           4           424.    Plaintiffs and other Class Members could not have discovered the unlawful
                           5   conduct at an earlier date through the exercise of reasonable diligence because of Defendants’
                           6   active and purposeful concealment of their unlawful activities.
                           7           425.    As a result of Defendants’ fraudulent concealment of their wrongful acts,
                           8   Plaintiffs’ delayed discovery of those wrongful acts, and the continuing nature of Defendants’
                           9   conspiracy, Plaintiffs asserts the tolling of any applicable statute of limitations affecting the rights
                          10   of action of Plaintiffs and other Class Members.
                          11

                          12                                         CLAIMS FOR RELIEF
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                          13                                      FIRST CAUSE OF ACTION
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                          14    Unlawful Agreements in Restraint of Trade in Violation of Section 1 of the Sherman Act,
                                                                    15 U.S.C. § 1
                          15
                                        (Against All Defendants on Behalf of Plaintiffs and the Sherman Act Class)
                          16

                          17          426.     Plaintiffs reallege and incorporate by reference all the allegations above as though
                          18   fully set forth herein.
                          19          427.     Beginning no later than the start of the Class Period and continuing through the
                          20   present, Defendants and their co-conspirators entered into a continuing agreement, understanding,
                          21   and conspiracy in restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.
                          22          428.     This agreement, understanding, and conspiracy has included concerted action and
                          23   undertakings by Defendants and their co-conspirators with the purpose and effect of: (a) fixing,
                          24   lowering, and stabilizing ex vessel prices for Dungeness crab in the Pacific NW Area at
                          25   artificially low levels; and (b) eliminating, to a substantial degree, competition among Defendants
                          26   and their co-conspirators with regards to ex vessel Dungeness crab prices in the Pacific NW Area.
                          27          429.     In formulating and carrying out the alleged agreement, understanding, and
                          28   conspiracy, Defendants and their co-conspirators did those things that they combined and
                                                    AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1   conspired to do, including but not limited to the acts, practices, and course of conduct set forth
                           2   above, and the fixing, lowering, and stabilizing of ex vessel prices of Dungeness crab in the
                           3   Pacific NW Area.
                           4          430.       The acts done by Defendants and their co-conspirators as part of, and in
                           5   furtherance of, their agreement, understanding, and conspiracy were authorized, ordered, or done
                           6   by their respective officers, directors, agents, employees, or representatives while actively
                           7   engaged in the management of each Defendant’s affairs.
                           8          431.       The unlawful agreement, understanding, and conspiracy among Defendants and
                           9   their co-conspirators has had the following effects, among others:
                          10                     a. competition in the Pacific NW Area among Defendants, their co-conspirators,
                          11                        and other ex vessel buyers of Dungeness crab has been suppressed, restrained,
                          12                        and eliminated;
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                          13                     b. ex vessel prices for Dungeness crab have been fixed, lowered, maintained, and
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                          14                        stabilized at artificially low levels throughout the Pacific NW Area; and
                          15                     c. those who sold Dungeness crab ex vessel in the Pacific NW Area have been
                          16                        deprived of the benefits and free and open competition.
                          17           432.      As a result, during the Class Period, Plaintiffs and the members of the Sherman
                          18   Act Class have received lower prices for their Dungeness crab from Defendants, their co-
                          19   conspirators, and other ex vessel buyers than they otherwise would have received in the absence
                          20   of Defendants’ unlawful agreement, understanding, and conspiracy, in an amount according to
                          21   proof at trial.
                          22           433.      Thus, as a direct and proximate result of Defendants’ combination and conspiracy
                          23   as alleged herein, Plaintiffs and the members of the Sherman Act Class have suffered injury to
                          24   their property.
                          25           434.      Defendants’ contract, combination, and conspiracy is a per se violation of Section
                          26   1 of the Sherman Act.
                          27

                          28
                                                      AMENDED CLASS ACTION COMPLAINT - Case No. 3:23-cv-01098-AGT
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                           1           435.    Plaintiffs and the members of the Sherman Act Class will continue to be subjected
                           2   to Defendants’ scheme alleged herein and will continue to suffer injury unless Defendants’
                           3   unlawful conduct is enjoined.
                           4           WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                           5                                SECOND CAUSE OF ACTION
                                     Combination in Restraint of Trade in Violation of the California Cartwright Act,
                           6
                                                    Cal. Bus. and Prof. Code Sections 16720, et seq.
                           7
                                          (Against All Defendants on Behalf of Plaintiffs and the California Class)
                           8
                                       436.    Plaintiffs reallege and incorporate by reference all the allegations above as though
                           9
                               fully set forth herein.
                          10
                                       437.    Defendants have entered into an unlawful combination in restraint of trade in
                          11
                               violation of Cal. Bus. & Prof. Code §16700 et seq. During the Class Period, Defendants and
                          12
                               their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of
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                          13
                               trade and commerce. Each Defendant has acted in violation of Cal. Bus. & Prof. Code §16720 to
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                          14
                               fix, stabilize, and maintain ex vessel prices for Dungeness crab throughout the Pacific NW Area,
                          15
                               including in California.
                          16
                                       438.    The violations of Cal. Bus. & Prof. Code §16720 consisted, without limitation, of
                          17
                               a continuing unlawful trust and concert of action among Defendants and their co-conspirators,
                          18
                               the substantial terms of which were to fix, maintain, and stabilize ex vessel prices for Dungeness
                          19
                               crab in California. For the purpose of forming and effectuating the unlawful trust, Defendants and
                          20
                               their co-conspirators have done those things which they combined and conspired to do, including,
                          21
                               but not limited to, the acts, practices, and course of conduct set forth above, and fixing, lowering,
                          22
                               and stabilizing the ex vessel price of Dungeness crab in California.
                          23
                                       439.    Defendants’ combination and conspiracy had the following purpose and effects: (1)
                          24
                               ex vessel price competition for Dungeness crab was restrained, suppressed, and eliminated
                          25
                               throughout California; (2) ex vessel Dungeness crab prices in California were fixed, lowered,
                          26
                               maintained, and stabilized at artificially low levels; and (3) crabbers have been deprived of free
                          27
                               and open competition in the ex vessel Dungeness crab market in California. During the Class
                          28
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                           1   Period, Defendants’ illegal conduct substantially affected California commerce and consumers.
                           2   These anticompetitive effects outweigh any beneficial effect on competition.
                           3           440.    As a result, during the Class Period, Plaintiffs and the members of the California
                           4   Class have received lower prices for their Dungeness crab from Defendants, their co-conspirators,
                           5   and other ex vessel buyers than they otherwise would have received in the absence of Defendants’
                           6   unlawful agreement, understanding, and conspiracy, in an amount according to proof at trial.
                           7           441.    Thus, as a direct and proximate result of Defendants’ combination and conspiracy
                           8   as alleged herein, Plaintiffs and the members of the California Class have suffered injury to their
                           9   property
                          10           WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                          11                                       THIRD CAUSE OF ACTION
                          12                             Violation of the California Unfair Competition Law,
                                                               Cal. Bus and Prof. Code § 17200, et seq.
SAN FRANCISCO, CA 94111




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                          14           (Against All Defendants on Behalf of Plaintiff Little and the California Class)

                          15           442.    Plaintiffs reallege and incorporate by reference all the allegations above as though

                          16   fully set forth herein.

                          17           443.    Defendants have intentionally and wrongfully engaged and continue to engage in

                          18   the practices above, which are unlawful, fraudulent, and/or constitute unfair competition within

                          19   the meaning of section 17200 of the California Business and Professions Code.

                          20           444.    These practices include but are not limited to:

                          21                   a. Defendants’ combination and agreement to fix, lower, maintain, and stabilize

                          22                       ex vessel Dungeness crab prices in California, and to control when the

                          23                       Dungeness crab season opens; and

                          24                   b. Defendants’ efforts to police and enforce their combination and agreement, and

                          25                       to punish or coerce compliance from those ex vessel Dungeness crab

                          26                       purchasers who have not joined Defendants’ combination and conspiracy.

                          27           445.    The purpose and effect of these practices is to harm competition and suppress ex

                          28   vessel prices for Dungeness crab in California.
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                           1          446.    Plaintiffs and the members of the California Class suffered harm as a direct and
                           2   proximate result of Defendants’ practices as described above.
                           3          447.    The practices alleged above are unfair, irrespective of the violation of any other
                           4   law, and constitute unfair competition within the meaning of section 17200 of the California
                           5   Business and Professions Code. They are immoral, unethical, oppressive, outrageous,
                           6   unscrupulous, and substantially injurious, and the harm caused by such practices—including in
                           7   the form of artificially depressed ex vessel prices for Dungeness crab—greatly outweighs any
                           8   possible utility therefrom.
                           9          WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                          10                                    FOURTH CAUSE OF ACTION
                          11                            For Declaratory Relief Under 28 U.S.C. § 2201
                          12                   (Against All Defendants on Behalf of Plaintiff and All Classes)
SAN FRANCISCO, CA 94111




                          13          448.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as
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                          14   though fully set forth herein.
                          15          449.    Plaintiffs and the members of the Sherman Act and California Classes, pursuant to
                          16   Fed. R. Civ. P. 57 and 28 U.S.C. § 2201, hereby seek a declaratory judgment that Defendants’
                          17   conduct in seeking to prevent competition as described herein violates Sections 1 of the Sherman
                          18   Act and violates California’s Cartwright Act.
                          19          WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
                          20
                                                                   PRAYER FOR RELIEF
                          21          WHEREFORE, Plaintiff, on behalf of himself and the proposed Classes, prays for
                          22   judgment and further relief as follows:
                          23          1.      Determining that this action may be maintained as a class action pursuant to Rules
                          24   23(a) and 23(b)(1)-(3) of the Federal Rules of Civil Procedure, certifying each of the four proposed
                          25   Classes, and directing that reasonable notice of this action, as provided by Rule 23(c)(2), be given
                          26   to members of the Classes, and appoint Plaintiff as the named representatives of the Classes;
                          27

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                           1          2.      Awarding Plaintiff and the Classes treble damages in an amount to be determined at
                           2   trial, plus interest in accordance with law;
                           3          3.      Award Plaintiff and the Class injunctive relief including an order barring Defendants
                           4   from continuing to engage in the illegal combinations with other ex vessel buyers of Dungeness
                           5   carab alleged herein;
                           6          4.      Entering judgments against Defendants in favor of Plaintiff and the Classes;
                           7          5.      Awarding Plaintiff and the Classes their costs of suit, including reasonable
                           8   attorneys’ fees as provided by law; and
                           9          6.      Awarding such further additional relief as the case may require and the Court may
                          10   deem just and proper under the circumstances.
                          11

                          12                                    DEMAND FOR JURY TRIAL
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                          13          Plaintiffs hereby demand a trial by jury for all claims so triable.
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                          14

                          15   Dated: August 20, 2024
                          16

                          17   By:                                            /s/ Stuart G. Gross
                                                                              Stuart G. Gross (SBN 251019)
                          18                                                  Travis H.A. Smith (SBN 331305)
                                                                              Ross A. Middlemiss (SBN 323737)
                          19                                                  GROSS KLEIN PC
                                                                              The Embarcadero
                          20
                                                                              Pier 9, Suite 100
                          21                                                  San Francisco, CA 94111
                                                                              (415) 671-4628
                          22                                                  sgross@grosskleinlaw.com
                                                                              tsmith@grosskleinlaw.com
                          23                                                  rmiddlemiss@grosskleinlaw.com
                          24                                                  Matthew W. Ruan (SBN 264409)
                                                                              FREED KANNER LONDON & MILLEN LLC
                          25                                                  100 Tri-State International, Suite 128
                                                                              Lincolnshire, IL 60069
                          26                                                  (224) 632-4500
                                                                              mruan@fklmlaw.com
                          27

                          28
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                                                                                                                                  77
                           1                           Steven N. Williams (SBN 175489)
                                                       STEVEN WILLIAMS LAW, P.C.
                           2                           201 Spear St, Suite 1100
                           3                           San Francisco, CA 94105
                                                       (415) 671-4628
                           4                           swilliams@stevenwilliamslaw.com

                           5                           Matthew S. Weiler (SBN 236052)
                                                       SCHNEIDER WALLACE COTTRELL
                           6
                                                       KONECKY, LLP
                           7                           2000 Powell Street, Suite 1400
                                                       Emeryville, CA 94608
                           8                           (415) 421-7100
                                                       mweiler@schneiderwallace.com
                           9

                          10                           Counsel for Plaintiffs and the Proposed Classes

                          11

                          12
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                          13
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